   Case 1:14-cv-10103-JGK-DCF Document 435 Filed 02/08/22 Page 1 of 114



UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
────────────────────────────────────
PHOENIX LIGHT SF LTD., ET AL.,

                         Plaintiffs,

   - against-                                    14-cv-10103 (JGK)

DEUTSCHE BANK NATIONAL TRUST CO. and
DEUTSCHE BANK TRUST COMPANY
AMERICAS,

                         Defendants.


COMMERZBANK AG,

                          Plaintiff,
                                                 15-cv-10031 (JGK)
   - against-

DEUTSCHE BANK NATIONAL TRUST CO. and
DEUTSCHE BANK TRUST COMPANY                      OPINION AND ORDER
AMERICAS,

                          Defendants.


JOHN G. KOELTL, District Judge:

     These actions, like others before them, were brought by

investors in residential mortgage-backed securities (“RMBS”)

seeking to recover losses sustained following the collapse of

the United States real estate market more than a decade ago. In

this case, RMBS certificateholders brought claims against RMBS

trustees alleging that the trustees breached their contractual,

fiduciary, statutory, and common law duties. Specifically,

Phoenix Light SF DAC (“Phoenix Light”), Blue Heron Funding V
   Case 1:14-cv-10103-JGK-DCF Document 435 Filed 02/08/22 Page 2 of 114



Ltd., Blue Heron Funding VI Ltd., Blue Heron Funding VII Ltd.,

Blue Heron Funding IX Ltd., C-Bass CBO XVII Ltd., Kleros

Preferred Funding V PLC, Silver Elms CDO PLC, and Silver Elms

CDO II Limited (collectively, “Phoenix Light Plaintiffs”) and

Commerzbank (together with the Phoenix Light Plaintiffs, the

“Plaintiffs”), as certificateholders of RMBS, brought claims

against RMBS trustees, Deutsche Bank National Trust Co.

(“DBNTC”) and Deutsche Bank Trust Company Americas (“DBTCA,”

together with DBNTC, “DB”), asserting claims for violations of

the Trust Indenture Act of 1939 (“TIA”) and the New York Streit

Act, breaches of contractual and fiduciary duties and the

covenant of good faith, as well as negligence and gross

negligence. The Plaintiffs’ claims arise out of certificates

(the “Certificates”) issued by 85 RMBS trusts (the “Trusts”) for

which DB was the trustee. The Phoenix Light Plaintiffs’ claims

are based on RMBS Certificates issued by 43 Trusts;

Commerzbank’s claims are based on Certificates issued by 50

Trusts, with Certificates from eight Trusts in common with the

Phoenix Light Plaintiffs. After the Court granted in part and

denied in part motions to dismiss by DB in both cases, the

Phoenix Light Plaintiffs submitted a Third Amended Complaint,

Commerzbank submitted a Second Amended Complaint, and the

parties proceeded to the first phase of discovery.




                                    2
    Case 1:14-cv-10103-JGK-DCF Document 435 Filed 02/08/22 Page 3 of 114



      DB then filed a motion for summary judgment pursuant to

Federal Rule of Civil Procedure 56 in each action. The

Plaintiffs filed a single, joint motion for partial summary

judgment in both actions. 1 DB also filed a supplemental motion

for summary judgment in the Phoenix Light Action following the

decision by the Court of Appeals for the Second Circuit in

Phoenix Light SF DAC v. U.S. Bank Nat’l Ass’n, 2021 WL 4515256

(2d Cir. Oct. 4, 2021). For the following reasons, DB’s motions

for summary judgment are granted in part and denied in part.

DB’s supplemental motion for summary judgment is granted. The

Plaintiffs’ motion for partial summary judgment is denied.

                               I.    Background

      The following facts are based on the parties’ Local Civil

Rule 56.1 statements, counterstatements, and supporting papers,

and are undisputed unless otherwise noted. The Court assumes

familiarity with RMBS in general, the RMBS securitization

process, and the roles of the various entities (such as the

sponsor, seller, servicer, and trustee) in RMBS trusts, as well

as its prior opinions in both actions. See Commerzbank AG v.

Deutsche Bank Nat’l Tr. Co., 234 F. Supp. 3d 462 (S.D.N.Y. 2017)




1 In this Opinion and Order, the “Phoenix Light Action” refers to case number
14-cv-10103 and citations in the form of “PL ECF No. __” are citations to the
docket in the Phoenix Light Action. Similarly, the “Commerzbank Action”
refers to case number 15-cv-10031 and citations in the form of “CB ECF No.
__” are citations to the docket in the Commerzbank Action.



                                      3
    Case 1:14-cv-10103-JGK-DCF Document 435 Filed 02/08/22 Page 4 of 114



(“CB MTD Order”); Phoenix Light SF Ltd. v. Deutsche Bank Nat’l

Tr. Co., 172 F. Supp. 3d 700 (S.D.N.Y. 2016) (“PL MTD Order”). 2

                                    A. RMBS

      RMBS are certificates or notes that provide investors with

returns depending on the performance of the underlying mortgage

loan pool, often held in an RMBS trust. 3 Plaintiffs’ Combined

Statement of Undisputed Facts (“P-CSUF”) ¶¶ 10, 20. Generally,

in an RMBS securitization transaction, mortgage loans,

underwritten and made by “originators,” are conveyed to a

“sponsor” or “seller” who collects the mortgage loans into a

“pool,” which is then conveyed to a “depositor.” DB’s Reply to

the Phoenix Light Plaintiffs’ Responses to DB’s Statement of

Undisputed Facts ¶ 1 (“PL-RSUF”). The depositor then conveys the

loan portfolio to a trust or RMBS trustee and the right to

receive income from the principal and interest payments from the

portfolio is parceled into certificates and sold to investors.

Id. In connection with the conveyance of the pool of mortgage

loans, originators and/or sponsors make representations and

warranties (“R&Ws”) regarding the quality and character of the



2 Unless otherwise noted, this Opinion and Order omits all alterations,
omissions, emphasis, quotation marks, and citations in quoted text.
3 Although trusts governed by indentures (and related agreements) issue notes
rather than certificates, for purposes of this Opinion and Order, the RMBS
certificates or notes at issue are uniformly referred to as “certificates”
and investors in RMBS trusts are referred to as “certificateholders.” See
DB’s Reply to Commerzbank’s Responses to DB’s Statement of Undisputed Facts
¶ 5 n.3 (“CB-RSUF”).



                                      4
      Case 1:14-cv-10103-JGK-DCF Document 435 Filed 02/08/22 Page 5 of 114



mortgage loan pools and the nature of their underwriting. P-CSUF

¶ 30. Finally, servicers are tasked with collecting payments on

the mortgages and enforcing loan terms, including foreclosing on

the property that secures the underlying mortgage loans if a

borrower defaults. See Plaintiffs’ Revised Responses to DB’s

Counter-Statement of Undisputed Facts ¶¶ 50-51 (“P-CSUF-Reply”);

Biron PL-Ex. 43; Biron CB-Ex. 43. For 12 of the Phoenix Light

Plaintiffs Trusts and 21 of the Commerzbank Trusts, a “Master

Servicer” was appointed and tasked with monitoring the

performance of other servicers. Biron PL-Ex. 44; Biron CB-Ex.

44.

                                  B. The Trusts

  The terms of an RMBS securitization trust, including the

powers and duties of the trustees and certificateholders, are

set forth in the trust’s governing agreements. Most of the

Trusts are governed by pooling and servicing agreements

(“PSAs”), while the remainder are governed by indentures and

related agreements (together with the PSAs, the “Governing

Agreements” or “GAs”). Biron PL-Exs. 25 (PSA Trusts), 26

(indenture Trusts); Biron CB-Exs. 25 (PSA Trusts), 26 (indenture

Trusts).




                                       5
    Case 1:14-cv-10103-JGK-DCF Document 435 Filed 02/08/22 Page 6 of 114



      Each Trust is governed by its own GA that sets out the

rights and duties of various parties, including DB. 4 Unless an

Event of Default (“EOD”) occurs and DB has a contractually

specified level of knowledge of that EOD, DB’s obligations are

limited to those explicitly laid out in the GAs. See Biron

PL-Ex. 35; Biron CB-Ex. 35. 5 The parties dispute the scope and

nature of DB’s obligations prior to the occurrence of an EOD and

whether DB was obligated to investigate potential EODs.

Nevertheless, the parties generally agree that after DB has the

contractually specified knowledge of an ongoing EOD, DB is

obligated to exercise the rights and powers vested in it under

the GAs to “use the same degree of care and skill in their

exercise as a prudent person would exercise or use under the

circumstance in the conduct of such person’s own affairs.” Biron

PL-Ex. 2 § 8.01; Handlin Ex. 390.

      The GAs define the circumstances that trigger an EOD;

however, depending on the specific Trust’s GA, different default


4 Unlike those of an ordinary trustee at common law, the duties of an RMBS
trustee are “exclusively defined by the terms of the” contracts that govern
the trusts. Elliott Assocs. v. J. Henry Schroder Bank & Tr. Co.,
838 F.2d 66, 71 (2d Cir. 1988); Blackrock Core Bond Portfolio v. U.S. Bank
Nat’l Ass’n, 165 F. Supp. 3d 80, 91 (S.D.N.Y. 2016).
5 See, e.g., Biron PL-Ex. 2 §§ 8.01 (“The Trustee, before the occurrence of a
Master Servicer Event of Default and after the curing of all Master Servicer
Events of Default that may have occurred, shall under take to perform such
duties and only such duties as are specifically set forth in this
Agreement.”), 8.02(h) (“[U]nless a Responsible Officer of the Trustee has
actual knowledge of the occurrence of a Master Servicer Event of Default or
an Event of Default, the Trustee shall not be deemed to have knowledge of a
Master Servicer Event of Default or an Event of Default until a Responsible
Officer of the Trustee shall have received written notice thereof.”).



                                      6
    Case 1:14-cv-10103-JGK-DCF Document 435 Filed 02/08/22 Page 7 of 114



events may trigger different consequences. See, e.g., P-CSUF-

Reply ¶ 52. 6 Under the GAs for 12 of the Phoenix Light Plaintiffs

Trusts and 21 of the Commerzbank Trusts, DB was required to

provide notice to other specified parties if DB or another

enumerated party “discover[ed]” a material loan-level R&W

breach. Biron PL-Ex. 54; Biron CB-Ex. 54. Under the GAs for 31

of the Phoenix Light Plaintiffs Trusts and 29 of the Commerzbank

Trusts, DB was required to provide notice to other specified

parties if DB or another enumerated party received written

notice of, or otherwise discovered, a material loan-level

representation and warranty breach. Biron PL-Ex. 55; Biron CB-

Ex. 55. However, DB contends that the GAs for 23 of the Trusts

at issue (8 Trusts for the Phoenix Light Plaintiffs, 17 for

Commerzbank, with 2 Trusts in common) do not require DB to

provide notice following an EOD. Goff Reply Ex. 11.

                         C. The Plaintiffs’ Claims

      The Plaintiffs argue that certain defects in the mortgage

loan documentation, breaches of the R&Ws made by sellers or

originators regarding the underlying loans, and failures by

Servicers or Master Servicers to carry out their



6 GAs for different Trusts contemplate different consequences or triggers
depending on the specific default events. For example, under certain GAs,
only a default by a “Master Servicer” is sufficient to trigger DB’s “prudent
person” duties. P-CSUF-Reply ¶ 52. For purposes of this Opinion and Order,
“Event of Default” or “EOD” means those events that trigger DB’s “prudent
person” duties.



                                      7
   Case 1:14-cv-10103-JGK-DCF Document 435 Filed 02/08/22 Page 8 of 114



responsibilities for underlying mortgage loan portfolios

constituted EODs under the GAs. The Plaintiffs further contend

that DB had knowledge of such EODs and was obliged to notify

certain parties and take other specific actions that DB failed

to take.

     Under the GAs for all the Trusts, within a specified time

period after closing, DB (or a custodian) was required to issue

a final certification with an “exception report” listing, for

each mortgage custody file, whether any 0document was missing

and/or defective. Biron PL-Ex. 42; Biron CB-Ex. 42. The last of

the deadlines for DB or a custodian to issue an exception report

for Trusts with Certificates held by Phoenix Light Plaintiffs

was April 24, 2008, Biron PL-Ex. 42, and December 26, 2007 for

Trusts with Certificates held by CB. Biron CB-Ex. 42. Under

certain GAs, if missing or non-conforming mortgage documentation

remained uncured, or if certain seller or originator R&Ws were

materially breached, DB had the right to request that the

originator or seller substitute or repurchase loans as a remedy

for the defective loans or breached R&Ws. P-CSUF-Reply ¶ 46. The

Plaintiffs assert that DB had the duty and ability under each GA

to require sellers of the underlying mortgage loans to

repurchase loans that breached the R&Ws provided by the sellers

and to force servicers to foreclose on properties for underlying

mortgages in default. P-CSUF-Reply ¶ 22. DB contends that while


                                    8
   Case 1:14-cv-10103-JGK-DCF Document 435 Filed 02/08/22 Page 9 of 114



it had the authority under certain Trusts to take such actions,

the obligations to enforce R&Ws breaches or remedy servicer

errors were not triggered until DB had “actual knowledge” of the

breach or default. Id. DB presents evidence that forcing

sponsors or other warrantors to repurchase mortgages would have

involved practical difficulties and costs. See, e.g., Biron PL-

Ex. 39, 40; Goff Reply Ex. 31; P-CSUF-Reply ¶¶ 22, 33, 35.

Moreover, evidence in the record suggests that circumstances

could arise where different investors may have divergent

interests following an alleged breach. See, e.g., P-CSUF-Reply

¶ 35.

     Generally, under the GAs, certificateholders are unable to

force DB to take specific actions unless the certificateholders

control 25% or more of the voting rights in the Trust. The

parties dispute the extent to which the certificateholders had

access to underlying loan documentation, and therefore whether

the certificateholders had the ability to confirm the

creditworthiness of the mortgage borrowers for the underlying

loans or whether breaches of individual loan terms had occurred.

P-CSUF-Reply ¶ 21. Similarly, the parties dispute the degree to

which the Plaintiffs had access to the identities of other

certificateholders, such that the Plaintiffs could organize

certificateholder support to direct DB’s actions. P-CSUF-Reply

¶ 38.


                                    9
  Case 1:14-cv-10103-JGK-DCF Document 435 Filed 02/08/22 Page 10 of 114



     DB, as trustee, was also entitled to certain exculpatory

limitations on its liability under the GAs. See, e.g., Biron PL-

Exs. 37-40; Biron CB-Exs. 37-40. For example, the GAs for all

Trusts at issue contained clauses providing, in substance, that

DB was entitled to rely on information provided to it that it

believed to be genuine. Biron PL-Exs. 37-38; Biron CB-Exs. 37-

38; see also Biron PL-Ex. 2 § 8.01 (“The Trustee shall not be

responsible for the accuracy or content of any resolution,

certificate, statement opinion, report, order, document, or

other instrument.”). The GAs for all Trusts also included a

clause providing in substance that DB cannot be held liable for

actions taken in good faith at the direction of holders of a

specified percentage of Certificates. Biron PL-Ex. 39; Biron CB-

Ex. 39.

     Although the parties dispute whether DB failed to take

appropriate action following events that allegedly constituted

EODs, it is undisputed that between 2008 and 2010, DB notified

investors that an EOD occurred in several Commerzbank Trusts and

Phoenix Light Plaintiffs Trusts, which was triggered by the

Trusts falling below certain quantitative thresholds (the “Loss

EODs”). CB-RSUF ¶ 58; PL-RSUF ¶ 69. Similarly, it is undisputed

that in 2012, DB declared EODs for certain Commerzbank Trusts

and Phoenix Light Trusts because a rating agency downgraded the

ratings of the loan servicer for those Trusts, namely Ocwen Loan


                                   10
  Case 1:14-cv-10103-JGK-DCF Document 435 Filed 02/08/22 Page 11 of 114



Servicing LLC (“Ocwen”) (the “2012 Downgrade EODs”). CB-RSUF

¶ 62; PL-RSUF ¶ 73. Further, it is undisputed that DB declared

an EOD after two other credit rating agencies downgraded Ocwen

in 2014 (the “2014 Downgrade EOD”). CB-RSUF ¶ 101; PL-RSUF ¶

118.

                              D. The Parties

       DBNTC is a national banking association, with its principal

place of business in California. Both DBNTC and DBTCA administer

RMBS trusts, including the Trusts at issue in this case, from

offices in Santa Ana, California. PL-RSUF ¶ 86.

       Commerzbank is a bank organized under the laws of Germany,

and, as of 2011, was Germany’s second largest bank with over

€660 billion in assets. CB-RSUF ¶¶ 51-52. Commerzbank is the

successor to the interests of Dresdner Bank AG (“Dresdner”)

following a merger in May 2009. P-CSUF ¶¶ 118-19. Commerzbank

asserts that it acquired the 74 Certificates at issue as legacy

Dresdner assets or through transfers from Eurohypo AG New York

Branch (“Eurohypo”) or Barrington II CDO Ltd. (“Barrington II”).

CB-RSUF-Reply ¶¶ 40-41. Commerzbank further asserts that

Barrington II assigned certain legal claims relating to

Certificates previously held by Barrington II to Commerzbank in

2012. P-CSUF ¶¶ 123-29. The parties agree that at some point,

Commerzbank possessed interests in 72 of the Certificates. CB-

RSUF ¶¶ 40. However, DB asserts that Commerzbank never held or


                                   11
  Case 1:14-cv-10103-JGK-DCF Document 435 Filed 02/08/22 Page 12 of 114



had interests in two Certificates. CB-RSUF ¶ 45. Further, it is

undisputed that, prior to commencing these actions, Commerzbank

sold 27 of the Certificates at issue in this case. CB-RSUF ¶ 42.

     In December 2013, Commerzbank commenced a lawsuit against

the depositors, sponsors, and underwriters for 51 of the 74

Certificates, alleging that the depositors, sponsors, and

underwriters had made false R&Ws. Commerzbank AG London Branch

v. UBS AG, No. 654464/2013, 2015 WL 3857321 (N.Y. Sup. Ct. June

17, 2015); PL-RSUF ¶ 33. On June 17, 2015, the New York State

Supreme Court dismissed these claims as untimely. The court

reasoned that Commerzbank’s fraud claims were “barred under [New

York’s] two-year discovery rule” because “all of the

certificates in question were downgraded by August 2009.” Id. at

*2. The court explained that Commerzbank should have discovered

any underlying fraud two years prior to commencing the suit

based on publicly available information regarding the poor

quality and management of mortgage loans underlying RMBS

securitizations. Id. The court further explained “that by

December 2011, investors had commenced such lawsuits involving

105 of the 146 offerings at issue here.” Id.

     The Phoenix Light Plaintiffs are special purpose entities

created under Irish or Cayman law and have principal places of

business in Ireland or the Cayman Islands. P-CSUF ¶¶ 90-95. The

Phoenix Light Plaintiffs were formed to facilitate a


                                   12
  Case 1:14-cv-10103-JGK-DCF Document 435 Filed 02/08/22 Page 13 of 114



securitization transaction, structured by WestLB AG (“WestLB”),

a failed German bank, to spin off certain non-performing assets.

PL-RSUF ¶ 37. At the closing of the WestLB transactions, a

portfolio of assets, including certain of the Certificates at

issue in this case, were transferred to the relevant Phoenix

Light Plaintiff; the Phoenix Light Plaintiffs simultaneously

issued notes back to WestLB and transferred the assets to one of

three indenture trustees. PL-RSUF ¶ 38; DB’s Reply to the

Phoenix Light Plaintiffs’ Response to DB’s Supplemental

Statement of Undisputed Material Facts ¶¶ 5-7 (“Supp. PL-RSUF”).

WestLB closed the securitization transactions involving all

Phoenix Light Plaintiffs other than Phoenix Light between 2005

and 2007. Supp. PL-RSUF ¶ 9.

     The following undisputed facts are relevant to a single

plaintiff, Phoenix Light. At the relevant times, WestLB was

owned by several German entities, including the German State of

North Rhine-Westphalia (“NRW”). P-CSUF-Reply ¶ 92. When the

financial crisis began to unfold in 2007, the value of RMBS and

other asset classes to which WestLB had exposure sharply

declined. Id. To stabilize WestLB, NRW agreed to provide a €5

billion “risk shield” that would insulate WestLB from losses on

its RMBS and other high-risk assets. Id. In the risk shield

transaction, WestLB formed Phoenix Light and caused a portfolio

of its distressed assets to be transferred to Phoenix Light. Id.


                                   13
  Case 1:14-cv-10103-JGK-DCF Document 435 Filed 02/08/22 Page 14 of 114



Phoenix Light simultaneously issued notes to WestLB and

transferred the asset portfolio to an indenture trustee. Id. The

notes issued to WestLB were entitled to receive cash flows

generated by the asset portfolio held by the indenture trustee.

WestLB’s other owners also agreed to bear a portion of any

losses covered by NRW’s risk shield. Id. The Phoenix Light risk

shield transaction closed on March 31, 2008.

     After the closing of the risk shield transaction, the

European Commission determined the transaction constituted

“state aid” to WestLB and required that WestLB be wound up. Id.

In December 2009, the German Financial Market Stabilization

Authority established a German public entity (“EAA”) to “take

over and dispose of or wind up assets, liabilities and other

risk exposures of West LB AG.” Id. Following the asset transfer

to EAA, EAA recognized that “[a]s the owner of the Phoenix

[Light] notes, the EAA alone bears the economic risk of [the

Phoenix Light] portfolio in the event that the actual losses

exceed the guarantee commitments provided by the [German]

federal state and the savings banks.” Id.

     In 2012 and 2013, EAA caused Phoenix Light and certain

other Phoenix Light Plaintiffs to commence legal actions against

sponsors, originators, and underwriters for numerous RMBS

trusts, including 33 of the Trusts at issue in this case. Biron

PL-Ex. 75. In December 2014, EAA caused eight of the ten Phoenix


                                   14
   Case 1:14-cv-10103-JGK-DCF Document 435 Filed 02/08/22 Page 15 of 114



Light Plaintiffs to file an action in this district against U.S.

Bank National Association (“U.S. Bank”) who, like DB, served as

the RMBS trustee for certain certificates to which the Phoenix

Light Plaintiffs claim an interest. See Phoenix Light SF Ltd. v.

U.S. Bank N.A. Nat’l Ass’n, No. 14-cv-10116 (S.D.N.Y., filed

December 24, 2014) (the “PL v. U.S. Bank Action”). 7 In the PL v.

U.S. Bank Action, Judge Forrest dismissed the plaintiffs’ claims

for lack of standing because under the relevant agreements, only

the indenture trustees, not the certificateholder-plaintiffs,

had the right to pursue claims arising out of the certificates.

Phoenix Light SF Ltd. v. U.S. Bank Nat’l Ass’n, No. 14-cv-10116,

2015 WL 2359358, at *2-3 (S.D.N.Y. May 18, 2015). Following

Judge Forrest’s decision, EAA caused the indenture trustees to

assign the claims at issue in the PL v. U.S. Bank Action and in

the Phoenix Light Action to the Phoenix Light Plaintiffs. Supp.

PL-RSUF ¶ 18; PL-RSUF ¶ 60.4.9.

                            E. Procedural History

   The Phoenix Light Plaintiffs have filed four complaints in the

Phoenix Light Action: an original complaint on December 23, 2014



7 All the Phoenix Light Plaintiffs except for Blue Heron V and Blue Heron IX

were plaintiffs in the PL v. U.S. Bank Action. Certain Phoenix Light
Plaintiffs also filed other lawsuits in this district around this same time,
including this action. Phoenix Light SF Ltd. v. Bank of New York-Mellon, No.
14-cv-10104 (S.D.N.Y., filed December 23, 2014); Phoenix Light SF Ltd. v.
Wells Fargo Bank, No. 14-cv-10102 (S.D.N.Y., filed December 23, 2014);
Phoenix Light SF Ltd. v. HSBC Bank USA, N.A., No. 14-cv-10101 (S.D.N.Y.,
filed December 23, 2014); Supp. PL-RSUF ¶ 16.



                                     15
   Case 1:14-cv-10103-JGK-DCF Document 435 Filed 02/08/22 Page 16 of 114



asserting claims relating to 35 Certificates; a First Amended

Complaint (“PL FAC”) on April 10, 2015, adding new claims

relating to 52 additional Certificates, including those issued

by different Trusts with different GAs; a Second Amended

Complaint (“PL SAC”) on July 15, 2015, following the assignments

of the right to sue from the indenture trustees; and a Third

Amended Complaint (“PL TAC”) on September 28, 2017, which

asserted new claims concerning certain EODs that DB had

declared.

      Commerzbank commenced the Commerzbank Action on December

23, 2015. Commerzbank subsequently filed a First Amended

Complaint (“CB FAC”) on April 15, 2016, and a Second Amended

Complaint on December 1, 2017 (“CB SAC”).

      DB filed motions to dismiss portions of PL SAC and CB SAC,

which the Court granted in part and denied in part. In relevant

part, the Court dismissed (1) the Plaintiffs’ claims for

violations of the Streit Act with prejudice; (2) the Plaintiffs’

TIA claims arising out of the PSA Trusts with prejudice; and (3)

the Phoenix Light Plaintiffs’ claims relating to “document

delivery failures” as time-barred. See CB MTD Order, 234 F.

Supp. 3d at 474; PL MTD Order, 172 F. Supp. 3d at 709, 722-23. 8


8 The Plaintiffs asserted TIA claims as to the PSA Trusts and Streit Act

claims in the subsequently filed PL TAC and CB SAC for the purposes of
preserving those issues for appeal. PL TAC ¶¶ 168-77, 194-200 & n.8, 11; CB
SAC ¶¶ 172-82, 203-10 & n.9, 10. In the PL TAC, the Phoenix Light Plaintiffs
also preserved for appeal claims relating to document delivery failures. PL


                                     16
   Case 1:14-cv-10103-JGK-DCF Document 435 Filed 02/08/22 Page 17 of 114



      In the PL TAC, the Phoenix Light Plaintiffs brought claims

based on Certificates issued by 43 Trusts, with an original face

value of over $750 million. In the CB SAC, Commerzbank brought

claims based on Certificates issued by 50 Trusts, with a

purchase value of approximately $600 million.

      At the parties’ request, the Court entered a bifurcated

schedule for expert discovery and dispositive motions in these

actions. In “Phase 1,” expert discovery and the parties’

dispositive motions focused on issues other than loan-level re-

underwriting and damages, leaving such issues for a “Phase 2” of

expert discovery and dispositive motions, if necessary. PL ECF

No. 205.

                             II.   Legal Standard

      The standard applicable to a motion for summary judgment is

well established. “The court should grant a summary judgment if

the movant shows that there is no genuine dispute as to any

material fact and the movant is entitled to judgment as a matter

of law.” Fed. R. Civ. P. 56(a); see also Celotex Corp. v.

Cartrett, 477 U.S. 317, 322-23 (1986). “[T]he trial court’s task

at the summary judgment motion stage of the litigation is

carefully limited to discerning whether there are any genuine

issues of material fact to be tried, not to deciding them.”


TAC ¶¶ 178-86 n.9. All those claims are dismissed for the reasons previously
explained in the CB MTD Order and the PL MTD Order.



                                     17
  Case 1:14-cv-10103-JGK-DCF Document 435 Filed 02/08/22 Page 18 of 114



Gallo v. Prudential Residential Servs., Ltd. P’ship, 22 F.3d

1219, 1224 (2d Cir. 1994). The Court’s “duty, in short, is

confined at this point to issue-finding,” and “does not extend

to issue-resolution.” Id.

     The moving party bears the initial burden of “informing the

district court of the basis for its motion” and identifying the

matter that “it believes demonstrate[s] the absence of a genuine

issue of material fact.” Celotex, 477 U.S. at 323. The

substantive law governing the case will identify those facts

that are material and “[o]nly disputes over facts that might

affect the outcome of the suit under the governing law will

properly preclude the entry of summary judgment.” Anderson v.

Liberty Lobby, Inc., 477 U.S. 242, 248 (1986).

     In determining whether summary judgment is appropriate, a

court must resolve all ambiguities and draw all reasonable

inferences against the moving party. See Matsushita Elec. Indus.

Co. v. Zenith Radio Corp., 475 U.S. 574, 587 (1986). “Summary

judgment should be denied if, when the party against whom

summary judgment is sought is given the benefit of all

permissible inferences and all credibility assessments, a

rational factfinder could resolve all material factual issues in

favor of that party.” Soto v. Gaudett, 862 F.3d 148, 157 (2d

Cir. 2017). If the moving party meets its burden, the nonmoving

party must produce evidence in the record and “may not rely


                                   18
  Case 1:14-cv-10103-JGK-DCF Document 435 Filed 02/08/22 Page 19 of 114



simply on conclusory statements or on contentions that the

affidavits supporting the motion are not credible.” Ying Jing

Gan v. City of New York, 996 F.2d 522, 532 (2d Cir. 1993).

     Claims alleging violations of the TIA, breach of contract,

breach of the covenant of good faith, and breach of fiduciary

duty arising out of RMBS trusts “must be proved loan-by-loan and

trust-by-trust,” and not based on generalized, non-specific

evidence of breaches. See Retirement Bd. of the Policemen’s

Annuity and Benefit Fund of the City of Chicago v. Bank of N.Y.

Mellon, 775 F.3d 154, 162 (2d Cir. 2014); Phoenix Light SF Ltd.

v. Bank of N.Y. Mellon, No. 14-cv-10104, 2017 WL 3973951, at *7–

8 (S.D.N.Y. Sept. 7, 2017) (“[B]y summary judgment or trial the

plaintiffs must present evidence that proves a specific breach

of a [R&W] as to any loan or trust for which plaintiffs allege

there was a breach.”).

                                   III.

     DB moves for summary judgment dismissing all the

Plaintiffs’ claims, arguing that (1) the Plaintiffs lack

standing to raise claims related to certain Certificates; (2)

many of the Plaintiffs’ claims are time-barred; and (3) the

Plaintiffs’ claims fail on the merits as a matter of law. As

explained below, the Plaintiffs have failed to demonstrate that

they have Article III or prudential standing to assert claims

arising out of certain Certificates. Moreover, many of the


                                   19
    Case 1:14-cv-10103-JGK-DCF Document 435 Filed 02/08/22 Page 20 of 114



Plaintiffs’ claims are time-barred and other claims fail on

their merits as a matter of law.

                                  A. Standing

      DB argues that the Phoenix Light Plaintiffs lack Article

III and prudential standing because the assignments of all the

claims that the Phoenix Light Plaintiffs are pursuing in this

action violate New York’s prohibition on champerty and

accordingly are void. DB also contends that the Phoenix Light

Plaintiffs and Commerzbank lack standing to assert claims

arising out of specific Certificates because (1) the

Certificates were sold prior to the commencement of these

actions; (2) there is no evidence that the Plaintiffs ever held

the Certificates; or (3) Phoenix Light failed to satisfy

relevant contractual conditions precedent prior to bringing its

suit.

                                 1. Champerty

      While the parties’ cross-motions for summary judgment were

pending, the Court of Appeals for the Second Circuit issued a

summary order affirming Judge Broderick’s grant of summary

judgment dismissing the PL v. U.S. Bank Action. 9 See Phoenix

Light SF DAC v. U.S. Bank Nat’l Ass’n, 2021 WL 4515256 (2d Cir.

Oct. 4, 2021) (“PL v. U.S. Bank III”), aff’g Phoenix Light SF


9 After Judge Forrest dismissed the PL v. U.S. Bank Action without prejudice
because the plaintiffs lacked standing, the case was reassigned to Judge
Broderick.


                                     20
  Case 1:14-cv-10103-JGK-DCF Document 435 Filed 02/08/22 Page 21 of 114



Ltd. v. U.S. Bank Nat’l Ass’n, No. 14-cv-10116, 2020 WL 1285783

(S.D.N.Y. Mar. 18, 2020) (“PL v. U.S. Bank I”), reconsideration

denied, No. 14-cv-10116, 2020 WL 4699043 (S.D.N.Y. Aug. 12,

2020) (“PL v. U.S. Bank II”).

     In PL v. U.S. Bank I, Judge Broderick found that there was

no genuine material factual dispute that the assignments of the

claims in that action from the indenture trustees to the eight

Phoenix Light Plaintiffs were executed “for the sole purpose of

pursuing [the PL v. U.S. Bank Action], and for no other reason.”

2020 WL 1285783, at *12. Accordingly, Judge Broderick concluded

that the assignments were void as champertous under New York

Judiciary Law § 489 and that consequently, the eight Phoenix

Light Plaintiffs lacked Article III and prudential standing to

assert claims arising out of those certificates. Id. at *12-13,

16. Judge Broderick also explained that because the eight

Phoenix Light Plaintiffs had previously executed a complete

transfer of their interests in the relevant certificates to the

indenture trustees, the eight Phoenix Light Plaintiffs lacked

any “preexisting proprietary interest” in the certificates and

therefore could not take advantage of the so-called Love Funding




                                   21
     Case 1:14-cv-10103-JGK-DCF Document 435 Filed 02/08/22 Page 22 of 114



exception to New York’s prohibition on champerty. Id. at *13-

15. 10

         After Judge Broderick denied the eight Phoenix Light

Plaintiffs’ motion for reconsideration, PL v. U.S. Bank II, 2020

WL 4699043, the plaintiffs appealed to the Court of Appeals for

the Second Circuit. The court of appeals affirmed Judge

Broderick’s decisions in a summary order dated October 4, 2021.

“Based on the factual findings of the District Court,” the court

of appeals concluded that the assignments at issue were

champertous and that the eight Phoenix Light Plaintiffs lacked

prudential standing. PL v. U.S. Bank III, 2021 WL 4515256, at

*1-2. The Court also rejected the eight Phoenix Light

Plaintiffs’ arguments that the Love Funding exception applied

and affirmed Judge Broderick’s finding that the plaintiffs did

not have a “preexisting proprietary interest” in the

certificates. Id. at *2. 11

         On October 13, 2021, this Court directed the parties in the

Phoenix Light Action to submit supplemental summary judgment


10In Tr. for the Certificate Holders of Merrill Lynch Mortg. Invs., Inc. v.
Love Funding Corp., 918 N.E.2d 889 (N.Y. 2009), in response to a certified
question from the Court of Appeals for the Second Circuit, the New York Court
of Appeals explained that “a corporation or association that takes an
assignment of a claim does not violate [New York’s statutory prohibition on
champerty] if its purpose is to collect damages, by means of a lawsuit, for
losses on a debt instrument in which it holds a preexisting proprietary
interest.” Id. at 891.
11The court of appeals “assum[ed] Article III standing” in order to address
prudential standing but did not analyze whether the plaintiffs actually had
Article III standing to pursue their claims. See id. at *1.



                                      22
  Case 1:14-cv-10103-JGK-DCF Document 435 Filed 02/08/22 Page 23 of 114



briefing addressing PL v. U.S. Bank III. PL ECF No. 419. The

court of appeals denied the eight Phoenix Light Plaintiffs’

petition for panel rehearing and rehearing en banc on November

19, 2021 and issued its mandate on November 29, 2021.

                       a. Collateral Estoppel

     In its supplemental motion for summary judgment, DB

contends that the Phoenix Light Action should be dismissed

because the Phoenix Light Plaintiffs are collaterally estopped

by the PL v. U.S. Bank Action from relitigating the issues of

prudential standing and champerty.

     “Collateral estoppel, or issue preclusion, prevents parties

or their privies from relitigating in a subsequent action an

issue of fact or law that was fully and fairly litigated in a

prior proceeding.” M.O.C.H.A. Soc’y, Inc. v. City of Buffalo,

689 F.3d 263, 284 (2d Cir. 2012). “The preclusive effect of a

judgment rendered by a federal court sitting in diversity,” such

as the court in the PL v. U.S. Bank Action, “is determined by

the law of state in which the rendering court sat.” See Stinnett

v. Dela Air Lines, Inc., 803 F. App’x 505, 508 n.3 (2d Cir.

2020) (citing Semtek Int’l Inc. v. Lockheed Martin Corp., 531

U.S. 497, 508 (2001)). Under New York law, collateral estoppel

applies to an issue that is (1) identical to an issue already

decided (2) in a previous proceeding in which that party had a

full and fair opportunity to litigate and (3) the issue


                                   23
     Case 1:14-cv-10103-JGK-DCF Document 435 Filed 02/08/22 Page 24 of 114



previously raised is decisive of the present action. Curry v.

City of Syracuse, 316 F.3d 324, 331 (2d Cir. 2003). 12

       Although lack of subject matter jurisdiction is not a

merits-based decision and therefore is not afforded preclusive

effect, “the factual issues the prior court decided in reaching

a determination regarding subject[]matter jurisdiction do have

preclusive effect.” Phoenix Light SF Ltd v. Bank of N.Y. Mellon,

No. 14-cv-10104, 2022 WL 92213, at *2 (S.D.N.Y. Jan. 7, 2022)

(concluding that certain of the Phoenix Light Plaintiffs were

collaterally estopped by PL v. U.S. Bank III and lacked

prudential standing to maintain claims against an RMBS trustee)

(“PL v. BNYM”). Accordingly, courts in this district have

“applied collateral estoppel to the issue of standing.”

Hollander v. Members of Bd. of Regents of Univ., No. 10-cv-9277,

2011 WL 5222912, at *2 (S.D.N.Y. Oct. 31, 2011), aff’d, 524 F.

App’x 727 (2d Cir. 2013).

       The Phoenix Light Plaintiffs are collaterally estopped from

relitigating the issues of prudential standing and champerty

because all the requirements for collateral estoppel are met and

the arguments advanced against the application of collateral

estoppel are without merit. First, the issues of champerty and


12Cases applying collateral estoppel under federal common law are relevant
here because “there is no material difference between federal and New York
State preclusion principles.” Twersky v. Yeshiva Univ., 112 F. Supp. 3d 173,
179 (S.D.N.Y. 2015), aff’d sub nom. Gutman v. Yeshiva Univ., 637 F. App’x 48
(2d Cir. 2016).



                                      24
     Case 1:14-cv-10103-JGK-DCF Document 435 Filed 02/08/22 Page 25 of 114



prudential standing presented here are identical to the issues

decided in the PL v. U.S. Bank Action. It is undisputed that the

assignments that the Phoenix Light Plaintiffs rely on to assert

their claims here are the exact same assignments that Judge

Broderick and the court of appeals found to be invalid and

champertous. Supp. PL-RSUF ¶ 23. It is further undisputed that

the deposition testimony in the record here includes the exact

same testimony that Judge Broderick and the court of appeals

relied on when determining that the assignments at issue were

executed with champertous intent. Id. ¶¶ 21, 25. Finally, it is

undisputed that the granting clauses in the agreements between

the Phoenix Light Plaintiffs and the indenture trustees at issue

in the PL v. U.S. Bank Action are either identical or materially

identical to the granting clauses at issue here. Id. ¶¶ 25-26.

       Second, the Phoenix Light Plaintiffs had a full and fair

opportunity to litigate the issues of prudential standing and

champerty in the PL v. U.S. Bank Action. The eight Phoenix Light

Plaintiffs that were parties in the PL v. U.S. Bank Action took

full advantage of the opportunity to pursue vigorously their

claims before the district court and court of appeals. 13 Although



13This requirement is satisfied even though the Phoenix Light Plaintiffs
advance additional arguments here that they undoubtedly could have raised
before Judge Broderick and the court of appeals. See PL v. BNYM, 2022 WL
92213, at *5 n.14 (“That Plaintiffs failed to take advantage of the
opportunity to present [additional arguments] to Judge Broderick does not
mean they were not given the opportunity to do so.”).



                                      25
  Case 1:14-cv-10103-JGK-DCF Document 435 Filed 02/08/22 Page 26 of 114



Blue Heron V and Blue Heron IX (the “Blue Heron Plaintiffs”)

were not parties to PL v. U.S. Bank Action, the opportunity-to-

litigate factor can be satisfied where, as here, “the part[ies]

in question [are] controlled by a party in a related action. The

Second Circuit applies the doctrine of privity with flexibility

when it comes to issue preclusion; so long as the interests of

the nonpart[ies] were adequately represented,” the application

of collateral estoppel is permissible. See PL v. BNYM, 2022 WL

92213, at *4-5 (concluding that Blue Heron V was collaterally

estopped by the PL v. U.S. Bank Action); see also Buechel v.

Bain, 766 N.E.2d 914, 920 (N.Y. 2001) (explaining that privity

in the context of collateral estoppel includes “those who

control an action although not formal parties to it [and] those

whose interests are represented by a party to the action”).

     Privity is satisfied with respect to the Blue Heron

Plaintiffs because it is undisputed that: (1) EAA, through

Phoenix Light, is the controlling noteholder of all the Phoenix

Light Plaintiffs, has an economic stake in the Phoenix Light

Plaintiffs’ litigation, and exercises some measure of control

over all the Phoenix Light Plaintiffs, Supp. PL-RSUF ¶¶ 27-28,

PL SAC ¶ 38; (2) the Blue Heron Plaintiffs were parties to one

of the assignment agreements that was found to be champertous in

PL v. U.S. Bank Action, Supp. PL-RSUF ¶ 29; (3) all the

directors of the Blue Heron Plaintiffs served as directors for


                                   26
  Case 1:14-cv-10103-JGK-DCF Document 435 Filed 02/08/22 Page 27 of 114



plaintiffs that participated in the PL v. U.S. Bank Action, id.

¶ 28; and (4) the Phoenix Light Action and the PL v. U.S. Bank

Action are prosecuted by the same counsel. Id. These facts

conclusively establish that the Blue Heron Plaintiffs’ interests

were adequately protected in the PL v. U.S. Bank Action and

demonstrate that there is “sufficient privity” between the Blue

Heron Plaintiffs and the eight other Phoenix Light Plaintiffs.

See PL v. BNYM, 2022 WL 92213, at *4-5; see also Phoneix Light

SF Ltd v. Wells Fargo Bank, N.A., No. 14-cv-10102, ECF No. 645

at 16 (S.D.N.Y. Dec. 6, 2021) (report and recommendation;

finding that both Blue Heron Plaintiffs are in privity with the

plaintiffs in the PL v. U.S. Bank Action and subject to

collateral estoppel).

     Third, the issues decided by the court of appeals relating

to champerty and prudential standing are dispositive of the

present action. Without prudential standing, the Phoenix Light

Plaintiffs cannot assert claims arising out of the Certificates

and the entire Phoenix Light Action must be dismissed.

     Although the requirements for the application for

collateral estoppel are met, the Phoenix Light Plaintiffs

contend that they should not be precluded by the PL v. U.S. Bank

Action for several unpersuasive reasons. First, they argue that

DBTCA is not entitled to invoke the equitable defense of

collateral estoppel because it was a party, in the capacity as


                                   27
  Case 1:14-cv-10103-JGK-DCF Document 435 Filed 02/08/22 Page 28 of 114



indenture trustee, to two of the champertous assignments at

issue and therefore has unclean hands. “Courts apply the maxim

requiring clean hands where the party asking for the invocation

of an equitable doctrine has committed some unconscionable act

that is directly related to the subject matter in litigation and

has injured the party attempting to invoke the doctrine.”

PenneCom B.V. v. Merrill Lynch & Co., Inc., 372 F.3d 488, 493

(2d Cir. 2004) (citing Weiss v. Mayflower Doughnut Corp., 135

N.E.2d 208, 210 (N.Y. 1956)). The Phoenix Light Plaintiffs’

argument fails because there is no evidence that DBTCA committed

any unconscionable act or engaged in any relevant conduct

involving “fraud, deceit,” or “bad faith.” See Marathon Outdoor,

LLC v. Vesconti, 107 F. Supp. 2d 355, 360 n.9 (S.D.N.Y. 2000).

It is undisputed that EAA or Phoenix Light directed DBTCA to

assign the relevant claims to the Phoenix Light Plaintiffs and

that EAA or Phoenix Light agreed to indemnify DBTCA against any

losses to DBTCA arising from DBTCA’s following their directions.

Supp. PL-RSUF ¶¶ 18-20. DBTCA’s compliance with the express

directions of EAA/Phoenix Light, which exercised their power as

controlling parties under the GAs, is in no way unconscionable,

fraudulent, or deceitful, and cannot now be relied on by the




                                   28
     Case 1:14-cv-10103-JGK-DCF Document 435 Filed 02/08/22 Page 29 of 114



Phoenix Light Plaintiffs to avoid the consequences of the

champertous assignments that EAA/Phoenix Light orchestrated. 14

       Second, the Phoenix Light Plaintiffs argue that the issues

decided in the Phoenix Light Action are purely legal and cannot

be subject to collateral estoppel. However, this argument fails

because Judge Broderick explained that the question of

champertous intent, an essential element of champerty, is a

“factual question” and discussed the record evidence before him

at length before finally concluding that the assignments were

void. See PL v. U.S. Bank, 2020 WL 1285783, at *11-13; see also

Justinian Capital SPC v. WestLB AG, 65 N.E.3d 218, 221 (N.Y.

2016) (conduct cannot be champertous unless the intent and

purpose of that conduct was to bring a suit). The court of

appeals likewise concluded, “[b]ased on the factual findings of

the District Court,” that the assignments “were indeed

champertous” and that the plaintiffs therefore lacked prudential




14The Phoenix Light Plaintiffs contend that their unclean hands argument is
supported by the New York Court of Appeals’ decision in Irwin v. Curie, 64
N.E. 161 (N.Y. 1902). In Irwin, a breach of contract action, the court did
not allow a defendant-attorney to invoke the defense that the contract was
void because the defendant (but not the plaintiff) was prohibited by statute
from having entered into the contract in the first place. Id. at 161-62 (the
“statute was leveled against attorneys and counselors, to the ranks of which
this defendant belonged . . . but did not prohibit plaintiff from making such
a contract.”). The court reasoned that although the contract was illegal, the
plaintiff, as “the more innocent party,” was entitled to enforce the contract
against the defendant. Id. But Irwin does not save the Phoenix Light
Plaintiffs’ claims because they are not innocent parties to the assignments
that EAA/Phoenix Light directed and brought about. It is undisputed that
DBTCA simply followed EAA/Phoenix Light’s directions and did not otherwise
engage in any inequitable conduct.



                                      29
     Case 1:14-cv-10103-JGK-DCF Document 435 Filed 02/08/22 Page 30 of 114



standing. PL v. U.S. Bank III, 2021 4515256 at *1; see also

Rosenberg v. Shemiran Co., LLC, No. 20-cv-2259, 2020 WL 1953627,

at *3 (S.D.N.Y. Apr. 22, 2020) (the “doctrine of issue

preclusion bars relitigation of the specific issues that the

prior court decided in reaching its jurisdictional

determination”).

       Third, the Phoenix Light Plaintiffs contend that collateral

estoppel should not apply here because the holding in PL v. U.S.

Bank III was “supported by alternate grounds.” This argument is

without merit because the court of appeals’ decision was based

solely on a finding that the plaintiffs lacked prudential

standing because the assignments were champertous. The court of

appeals did not reach the issue of Article III standing or

support its ruling by any other alternative ground. 15

       Finally, the Phoenix Light Plaintiffs argue that Fund

Liquidation Holdings LLC v. Bank of Am. Corp, 991 F.3d 370 (2d

Cir. 2021), which was decided during the pendency of the appeal

in the PL v. U.S. Bank Action, undermines the decision in PL v.

U.S. Bank III. However, the eight Phoenix Light Plaintiffs



15The court of appeals resolved whether the plaintiffs had prudential
standing without addressing whether the plaintiffs have Article III standing.
This demonstrates that it is proper to “assume Article III standing and
address the alternative threshold question of whether a party has prudential
standing.” PL v. U.S. Bank III, 2021 WL 4515256, at *1 (quoting Hillside
Metro Assocs., LLC v. JPMorgan Chase Bank, Nat’l Ass’n, 747 F.3d 44, 48 (2d
Cir. 2014)). Accordingly, arguments to the contrary advanced by the Phoenix
Light Plaintiffs are without merit.



                                      30
     Case 1:14-cv-10103-JGK-DCF Document 435 Filed 02/08/22 Page 31 of 114



raised arguments based on Fund Liquidation to the court of

appeals before it rendered its decision in a Federal Rule of

Appellate Procedure 28(j) letter. PL v. U.S. Bank III, No. 20-

1312-cv, ECF No. 133 (2d Cir., filed Mar. 22, 2021). Because the

court of appeals rendered its decision in PL v. U.S. Bank III

despite being made aware of the plaintiffs’ Fund Liquidation

arguments, that case does not strip PL v. U.S. Bank III of its

preclusive effect.

       For these reasons, the Phoenix Light Plaintiffs are

collaterally estopped from relitigating the issues of champerty

and prudential standing. Under PL v. U.S. Bank III, the

assignment of all the claims advanced in the Phoenix Light

Actions are void as champertous and the Phoenix Light Plaintiffs

lack prudential standing to pursue their claims. 16 Accordingly,

DB’s supplemental motion for summary judgment dismissing all the

claims in the Phoenix Light Action is granted. 17


16All the Phoenix Light Plaintiffs would lack prudential standing to pursue
their claims here even if they were afforded an opportunity to relitigate the
issues from the PL v. U.S. Bank Action. See PL v. BNYM, 2022 WL 92213, at *5
n.15 (“The Court also notes that it need not rely on issue preclusion . . . .
because the Second Circuit’s reasoning in [PL v. U.S. Bank III] would
necessitate the same outcome under a fresh analysis.”). Although PL v. U.S.
Bank III is a summary order, it dealt with identical or materially identical
parties, issues, and facts to those presented here. See L.O. v. N.Y.C. Dep’t
of Educ., 822 F.3d 95, 123 n.17 (2d Cir. 2016) (“[D]enying summary orders
precedential effect does not mean that the court considers itself free to
rule differently in similar cases.”). The Phoenix Light Plaintiffs have
offered no persuasive reason for this Court to depart from the well-reasoned
conclusions in PL v. U.S. Bank I and PL v. U.S. Bank III, which applied
established precedent from this Circuit and the New York state courts. See PL
v. BNYM, 2022 WL 92213, at *5 n.15.
17Because the Phoenix Light Plaintiffs lack prudential standing to pursue any
claims in the Phoenix Light Action, the entire action is dismissed on that


                                      31
   Case 1:14-cv-10103-JGK-DCF Document 435 Filed 02/08/22 Page 32 of 114



                           2. Sold Certificates

   It is undisputed that Commerzbank is asserting claims arising

out of 27 Certificates that it sold prior to commencing the

Commerzbank Action and that the Phoenix Light Plaintiffs are

asserting claims arising out of six Certificates that they sold

prior to commencing the Phoenix Light Action (the “Sold

Certificates”). See Biron CB-Ex. 27 (Commerzbank Sold

Certificates); Biron PL-Ex. 27 (Phoenix Light Plaintiffs Sold

Certificates). For the six Phoenix Light Plaintiffs Sold

Certificates, the sales contracts did not provide that the

relevant indenture trustee for the Phoenix Light Plaintiff would

retain claims that may have accrued before the sale of the Sold

Certificates. PL-RSUF ¶ 40. For the 27 Commerzbank Sold

Certificates, the Plaintiffs have presented no evidence that any

sales contract provided that Commerzbank would retain claims

that may have arisen before the sale of the Sold Certificates.

CB-RSUF ¶ 43. DB argues that the Plaintiffs therefore lack

standing to assert claims relating to the Sold Certificates.

      Article III of the United States Constitution limits the

jurisdiction of federal courts to “cases” and “controversies.”

See Lujan v. Defenders of Wildlife, 504 U.S. 555, 559 (1992). To



basis alone. However, DB advanced numerous arguments in its original motion
for summary judgment as to why the Phoenix Light Plaintiffs’ claims should be
dismissed. Those arguments are addressed below and constitute alternative
holdings supporting the dismissal of those claims.



                                     32
  Case 1:14-cv-10103-JGK-DCF Document 435 Filed 02/08/22 Page 33 of 114



satisfy the requirements of Article III standing, a plaintiff

must show that (1) the plaintiff has suffered an actual or

imminent injury in fact, which is concrete and particularized;

(2) there is a causal connection between the injury and

defendant’s actions; and (3) it is likely that a favorable

decision in the case will redress the injury. See id. at 560–61.

“The party invoking federal jurisdiction bears the burden of

establishing these elements.” Id. at 561; see also Springer v.

U.S. Bank Nat’l Ass’n, No. 15-cv–1107, 2015 WL 9462083, at *3

(S.D.N.Y. Dec. 23, 2015). The Plaintiffs bear the burden of

establishing “standing for each claim [they] seek[] to press and

for each form of relief that is sought.” PL v. U.S. Bank I, 2020

WL 1285783, at *10 (quoting Davis v. Fed. Election Comm’n, 554

U.S. 724, 734 (2008)). Generally, in breach of contract cases,

“the minimum requirement for an injury-in-fact is that the

plaintiff have legal title to, or a proprietary interest in, the

claim [at issue].” Cortlandt St. Recovery Corp. v. Hellas

Telecommunications S.a.r.L., 790 F.3d 411, 420 (2d Cir. 2015).

However, courts have recognized that a valid assignment to a

plaintiff of the right at issue allows the plaintiff to “stand

in the place of the injured party” and can be sufficient to

satisfy standing. Id. at 418; see also PL v. U.S. Bank I, 2020

WL 1285783, at *9-10.




                                   33
  Case 1:14-cv-10103-JGK-DCF Document 435 Filed 02/08/22 Page 34 of 114



     Because “[t]here is no uniform law controlling the

assignment of the accompanying litigation rights when [RMBS]

certificates are transferred,” Royal Park Invs. SA/NV v. U.S.

Bank N.A., 324 F. Supp. 3d 387, 398 (S.D.N.Y. 2018), the parties

agree that the question of which jurisdiction’s law applied to

the Sold Certificates’ sales transactions may determine whether

the Plaintiffs have standing to pursue claims relating to the

Sold Certificates. The Plaintiffs argue, and DB does not appear

to dispute, that under Irish, Cayman, or English law, sellers

retain litigation rights in sold securities even if the sales

contracts do not contain express provisions so stating. The

parties also do not dispute that “under New York law, claims

travel with the security unless expressly reserved in writing.”

Commerzbank AG v. U.S. Bank Nat’l Ass’n, 457 F. Supp. 3d 233,

243 (S.D.N.Y. 2020) (applying New York law; concluding

Commerzbank lacked standing to pursue claims related to

certificates sold prior to commencement of the suit); see N.Y.

Gen. Oblig. Law § 13-107.

     A federal court sitting in diversity applies the choice of

law rules of the forum state. Klaxon Co. v. Stentor Co., 313

U.S. 487 (1941); Kinsey v. New York Times Co., 991 F.3d 171, 176

(2d Cir. 2021). Accordingly, New York’s choice of law rules

apply to the Sold Certificate transactions.




                                   34
  Case 1:14-cv-10103-JGK-DCF Document 435 Filed 02/08/22 Page 35 of 114



     To determine which jurisdiction’s law governs a contract,

courts applying New York choice of law rules employ a “center of

gravity” or “grouping of contacts” analysis to determine which

jurisdiction has “the most significant relationship to the

transaction and the parties,” based on a consideration of

several factors including: “the place of contracting,” “the

places of negotiation and performance; the location of the

subject matter; and the domicile or place of business of the

contracting parties.” Zurich Ins. Co. v. Shearson Lehman Hutton,

Inc., 642 N.E.2d 1065, 1068 (N.Y. 1994). Both parties

acknowledge that under this test, the location of the actual

contracting parties to a sale carries more weight than the

location of a broker involved with the transaction. Opp’n at 5;

Reply at 2-3; see Royal Park Invs. SA/NV v. Bank of New York

Mellon, No. 14-cv-6502, 2019 WL 652841, at *7 (S.D.N.Y. Feb. 15,

2019) (under New York’s center of gravity test, inquiry into the

identity of a sold certificate’s beneficial owner is necessary

to determine whether a party has standing to assert claims

relating to that security).

     The Plaintiffs have failed to produce evidence regarding

the identity and location of the ultimate purchasers of the Sold

Certificates. Biron CB-Ex. 22; CB-RSUF ¶¶ 42-44; PL-RSUF ¶¶ 40-

41. The Plaintiffs did produce trade tickets listing the

counterparties for certain sales, e.g., Handlin Exs. 122, 124,


                                   35
  Case 1:14-cv-10103-JGK-DCF Document 435 Filed 02/08/22 Page 36 of 114



128, 130, 134, but do not have any information regarding whether

those counterparties purchased the Certificates for their own

accounts or on behalf of their clients.

     The Plaintiffs argue that even though the identities of the

ultimate purchasers of the Sold Certificates are unknown,

application of Irish, English, or Cayman law to the Sold

Certificates transactions is proper under the center of gravity

test. The Plaintiffs note that Phoenix Light is an Irish company

with a Board of Directors in Ireland and that Blue Heron is

incorporated in the Cayman Islands with a Board of Directors in

Grand Cayman. The Plaintiffs also argue that Phoenix Light and

Blue Heron held, administrated, and sold the relevant

Certificates in Ireland and the Cayman Islands, respectively.

With respect to Commerzbank, the Plaintiffs argue that English

law applies, in part because the Sold Certificates were sold

with the involvement of staff from Commerzbank’s London branch.

     The Plaintiffs’ arguments are without merit. It is the

Plaintiffs’ burden to demonstrate their standing to sue for

claims related to each Certificate. See Commerzbank AG, 457 F.

Supp. 3d at 243. However, the Plaintiffs have not come forward

with the evidence necessary to demonstrate what law applies

under New York’s center of gravity test and therefore cannot

demonstrate that they retained claims relating to the Sold

Certificates. See BlackRock Balanced Cap. Portfolio (FI) v.


                                   36
     Case 1:14-cv-10103-JGK-DCF Document 435 Filed 02/08/22 Page 37 of 114



Deutsche Bank Nat’l Tr. Co., No. 14-cv-09367, 2018 WL 5619957,

at *11 (S.D.N.Y. Aug. 7, 2018) (noting that to establish

standing to pursue claims arising out of RMBS certificates,

“tracing [the chain of title] is only the first step in learning

who retains the litigation rights,” because an “individualized

inquiry to learn who retained the litigation rights for each

security” is required). 18

       As discussed above, the identity and location of the

ultimate buyers of the Sold Certificates are unknown. The fact

that Phoenix Light and Blue Heron are incorporated in the

Ireland and the Cayman Islands, respectively, does not remedy

this failure of proof. 19 Moreover, the fact that Commerzbank’s

London branch was involved in the Sold Certificates transactions

is not dispositive. Branches are not juridical entities distinct

from their bank and courts in this district have consistently

rejected arguments that a branch should be treated as a separate


18The Plaintiffs argue that because DB moved for summary judgment, the burden
is on DB to establish what law applies to the Sold Certificates transactions.
This misconstrues DB’s burden at summary judgment and the need for the
Plaintiffs to demonstrate standing for each claim they pursue. Having
demonstrated “the absence of evidence to support the nonmoving party’s case,”
DB has discharged its burden, and the Plaintiffs, as the nonmoving parties,
must produce evidence in the record to support their standing without relying
“simply on conclusory statements.” Ying Jing Gan, 996 F.2d at 532. The
Plaintiffs have failed to do so.
19The Plaintiffs’ own evidence demonstrates that Phoenix Light’s and Blue
Heron’s collateral managers, who “executed the sales” of the Sold
Certificates, were located in Germany, London, California, or New York, not
the Cayman Islands or Ireland. PL-RSUF ¶ 41; see also id. ¶ 60.1.1 (“The key
personnel dedicated to managing the [Phoenix Light] asset portfolio were
located in New York”). This further undermines any argument for the
application of Irish or Cayman law under the center of gravity test.



                                      37
     Case 1:14-cv-10103-JGK-DCF Document 435 Filed 02/08/22 Page 38 of 114



entity for choice of law analysis. See, e.g., Commerzbank AG,

457 F. Supp. 3d at 243 (rejecting a similar argument by

Commerzbank).

       Alternatively, to the extent that a center of gravity

analysis can be conducted with the limited evidence presented by

the Plaintiffs, that evidence demonstrates that New York law

governed the Sold Certificates transactions because each Sold

Certificate was registered in the Depository Trust Company

(“DTC”) securities depository at the time of sale, which is

located in New York. PL-RSUF ¶ 41; CB-RSUF ¶ 44. 20 Commerzbank

AG, 457 F. Supp. 3d 233, is instructive. In that case, Judge

Pauley, applying Ohio choice of law principles, found that New

York law governed the sale of certain certificates, in part

because those certificates were registered with the DTC. Id. at

243. Judge Pauley explained that “the actual transactions did

not occur in London; they occurred in New York through DTC, a

clearing house. . . . The fact that DTC actually holds the

certificates and effectuates the transactions means that the


20The parties in the Commerzbank Action do not specifically address in their
56.1 Statements whether the Sold Certificates in that action were registered
with the DTC. However, the trade tickets for the Commerzbank Sold Certificate
transactions do appear to indicate that DTC played at least some role in
those transactions. Additionally, at the oral argument on the present
motions, counsel for DB contended that the Commerzbank Sold Certificates were
registered with the DTC and counsel for Commerzbank did not contest that
representation. And in post–oral argument letters addressing supplemental
authority on this issue, Commerzbank again did not dispute DTC’s involvement
in the Commerzbank Sold Certificate transactions, and indeed conceded that
DTC played a “settlement function” with respect to the Sold Certificates. CB
ECF No. 290.


                                      38
  Case 1:14-cv-10103-JGK-DCF Document 435 Filed 02/08/22 Page 39 of 114



transactions actually occurred in New York and are governed by

New York law.” Id. This reasoning is apposite here and lends

further support to the conclusion that New York law applies in

the absence of evidence regarding the location and identity of

the buyers of the Sold Certificates. Because there is no

evidence that the Plaintiffs explicitly retained claims related

to the Sold Certificates, application of New York law to the

Sold Certification transactions is fatal to the Plaintiffs’

standing as to the Sold Certificates. See id.; N.Y. Gen. Oblig.

Law § 13-107.

     In sum, there is no evidence in the record that the

Plaintiffs have standing to pursue claims relating to the Sold

Certificates. DB is entitled to summary judgment dismissing all

claims relating to the Sold Certificates.

                    3. Unpossessed Certificates

     DB argues that the Plaintiffs have failed to demonstrate

that the Plaintiffs ever held three Certificates and therefore

lack standing to assert claims based on those Certificates.

     First, DB asserts that there is no evidence that Phoenix

Light ever held the IXIS 2007-HE1 M2 Certificate. Phoenix Light

contends that it acquired the IXIS 2007-HE1 M2 Certificate in

2009 from Harrier Finance Limited (“Harrier”). Phoenix Light

points to evidence including a trade ticket relating to the

purchase of the IXIS 2007-HE1 M2 Certificate by Harrier in 2007,


                                   39
  Case 1:14-cv-10103-JGK-DCF Document 435 Filed 02/08/22 Page 40 of 114



Fitzgerald Ex. 44, and an “Assignment Agreement” from 2012 that

states that Harrier “sold, transferred and delivered” to Phoenix

Light over 100 specified securities (including the IXIS 2007-HE1

M2 Certificate) in 2009. See Fitzgerald Ex. 39. However, the

Assignment Agreement only purports to transfer litigation claims

relating to the securities, not the securities themselves, and

merely assumes that the transfer of the Certificates took place

in 2009. Part Two of DB’s Reply and Response to the Phoenix

Light Plaintiffs’ Counter-Statement of Undisputed Material Facts

(“PL-RSUF-2”) ¶ 973. Although a collateral manager maintained

ledgers of Phoenix Light’s securities assets, the Plaintiffs

have not provided any ledger referencing the IXIS 2007-HE1 M2

Certificate or any trade ticket or exercise notice referencing

that Certificate. Id. Moreover, despite Phoenix Light’s

representation in interrogatories that it acquired IXIS 2007-HE1

M2 Certificate in January 2007 and never sold it, that

Certificate does not appear in a Phoenix Light December 2010

asset report. See Biron PL-Exs. 22 (line 38 of Ex. A thereto),

86. Additionally, Phoenix Light has failed to submitted evidence

that Harrier retained any legal claims to transfer to Phoenix

Light at the time of the Assignment Agreement, even if Harrier

had acquired the IXIS 2007-HE1 M2 Certificate. Accordingly,

Phoenix Light has failed to establish that it has standing to

assert claims related to the IXIS 2007-HE1 M2 Certificate.


                                   40
  Case 1:14-cv-10103-JGK-DCF Document 435 Filed 02/08/22 Page 41 of 114



     Similarly, DB argues that there is no evidence that

Commerzbank ever held the FFML 2005-FF2 M2 and GSAMP 2005-HE4 M2

Certificates. Commerzbank asserts that it acquired the FFML

2005-FF2 M2 and GSAMP 2005-HE4 M2 Certificates through an

assignment agreement in connection with Commerzbank’s purchase

of 239 certificates from Barrington II, which included the

preexisting legal claims held by Barrington II for certificates

that it had already sold to third parties. Part Two of DB’s

Reply and Response to the Commerzbank’s Counter-Statement of

Undisputed Material Facts (“CB-RSUF-2”) ¶ 1307. However, the

assignment agreement on which Commerzbank relies does not

purport to assign the actual FFML 2005-FF2 M2 and GSAMP 2005-HE4

M2 Certificates. It only transfers the assets contained in its

Exhibit B to the assignment agreement and those Certificates are

not listed in that exhibit. Instead, the assignment agreement

only purports to assign “any and all litigation rights, causes

of action and claims arising out of, in connection with, and/or

relating to” such Certificates, as designated in Exhibit A.

Handlin Ex. 673 §§ 1, 2, Exs. A, B. Additionally, Commerzbank

previously stated in response to DB’s interrogatories that

Barrington II sold the FFML 2005-FF2 M2 and GSAMP 2005-HE4 M2

Certificates to unknown buyers in 2012 — prior to the 2013

assignment on which Commerzbank relies. CB-RSUF-2 ¶ 1307.




                                   41
  Case 1:14-cv-10103-JGK-DCF Document 435 Filed 02/08/22 Page 42 of 114



     Commerzbank has not provided information about the 2012

sale by Barrington II to unknown purchasers and has not

otherwise provided evidence to establish that Barrington II

retained any legal claims in connection with its prior ownership

of the FFML 2005-FF2 M2 and GSAMP 2005-HE4 M2 Certificates at

the time of the relevant assignment agreement. Accordingly,

Commerzbank has failed to establish its standing to assert

claims related to the FFML 2005-FF2 M2 and GSAMP 2005-HE4 M2

Certificates, or that it otherwise acquired claims from

Barrington II at the time of the 2013 assignment agreement.

     Therefore, all claims asserted by Phoenix Light relating to

the IXIS 2007-HE1 M2 Certificate and all claims asserted by

Commerzbank relating to the FFML 2005-FF2 M2 and GSAMP 2005-HE4

M2 Certificates are dismissed.

                       4. Bond Issuer Consent

     DB contends that Phoenix Light does not have standing to

assert claims for the two tranches of Certificates issued by the

IMM 2005-7 Trust, arguing that pursuant to the relevant GA for

that Trust, investors may not initiate litigation without the

written consent of the “Bond Issuer.” See Biron PL-Ex. 74. In

relevant part, the GA governing the IMM 2005-7 Certificates

provides that certificateholders may not “institute any

Proceeding, judicial or otherwise, with respect to this

Indenture, . . . unless . . . such [certificateholders] have the


                                   42
     Case 1:14-cv-10103-JGK-DCF Document 435 Filed 02/08/22 Page 43 of 114



written consent of the Bond Issuer or a Bond Issuer Default

exists.” Id.

     The Plaintiffs do not dispute that this consent provision

appears in the relevant GA or that the Plaintiffs failed to

receive written consent from Ambac Assurance Corporation

(“Ambac”), the Bond Issuer, prior to commencement of this

action. PL-RSUF ¶ 44; PL-RSUF-2 ¶ 976. However, after oral

argument on the current motions, the Plaintiffs submitted the

Declaration of Susan J. Lobel, Managing Director and General

Counsel of Structured Finance at Ambac. 21 Ms. Lobel declared that

Ambac “ratifies and authorizes Plaintiffs’ actions, and consents

to Plaintiffs asserting claims, as to the IMM 2005-7

Certificates against Defendants” in this case. Lobel Decl. ¶ 4.

     The Plaintiffs argue that Ms. Lobel’s declaration alleviates

any standing issues with respect to the relevant claims. The

Plaintiffs further argue that these newly viable claims are

timely because they relate back to Phoenix Light’s earlier

complaints. DB contends that because Phoenix Light did not




21The Plaintiffs also moved for leave to supplement the summary judgment
record with the Lobel Declaration. Courts in this Circuit look favorably on
efforts to supplement the record absent prejudice or bad faith. Katz v.
Metro. Transp. Auth., No. 17-cv-472, 2017 WL 6734185, at *12 (E.D.N.Y. Dec.
29, 2017) (collecting cases). There is no evidence that the Plaintiffs
submitted the Lobel Declaration in bad faith or that supplementing the record
would prejudice DB. Moreover, the parties will be best served by the Court
deciding the issues presented to it on the most complete factual basis
possible. Accordingly, the Court grants the Plaintiffs’ motion and accepts
the Lobel declaration into the summary judgment record.



                                      43
  Case 1:14-cv-10103-JGK-DCF Document 435 Filed 02/08/22 Page 44 of 114



receive consent from Ambac — a condition precedent to Phoenix

Light’s ability and standing to pursue these claims — until

August 2021, any claims relating to the IMM 2005-7 Certificates

cannot relate back and are time-barred.

  Under New York law, “[r]elation-back applies to the amendment

of claims and parties and is dependent upon the existence of a

valid preexisting action.” Nomura Asset Acceptance Corp. Alt.

Loan Tr., Series 2005-S4 v. Nomura Credit & Cap., Inc., No.

653541/2011, 2013 WL 2072817, at *7 (N.Y. Sup. Ct. May 10, 2013)

(quoting S. Wine & Spirits of Am., Inc. v. Impact Envt’l Eng’g,

PLLC, 915 N.Y.S.2d 541, 542 (App. Div. 2011)). Where a

contractual condition precedent to asserting a claim is

satisfied only after that claim has been asserted, the

subsequent satisfaction of the condition precedent “cannot

‘relate back’ because the inherent nature of a condition

precedent to bringing suit is that it actually precedes the

action.” U.S. Bank Nat’l Ass’n v. GreenPoint Mortg. Funding,

Inc., 45 N.Y.S.3d 11, 17 (App. Div. 2016) (explaining that

permitting relation back in such circumstances would “simply

eviscerate the condition precedent”); S. Wine & Spirits,

915 N.Y.S.2d at 541 (“Here, however, the original complaint was

brought by plaintiffs in violation of the condition precedent,

and the plaintiffs cannot rely upon [the New York relation back

statute] to cure such failure to comply.”).


                                   44
     Case 1:14-cv-10103-JGK-DCF Document 435 Filed 02/08/22 Page 45 of 114



     Although the Plaintiffs’ claims arising from the IMM 2005-7

Certificates were first asserted in earlier complaints, the

Plaintiffs did not have standing to assert these claims until

the condition precedent was satisfied in August 2021. These

claims, as initially asserted, were not valid causes of action

because the condition precedent was not yet satisfied.

Accordingly, there is nothing that the newly consented-to claims

can properly relate back to. Because relation back is foreclosed

under New York law and there is no dispute that the relevant

claims accrued years ago, all claims arising out of the IMM

2005-7 Certificates are time-barred. 22 See infra Section III.B.

                          B. Statute of Limitations

     DB argues that the majority of the Plaintiffs’ claims are

time-barred because those claims accrued in Germany and are

untimely under the applicable German three-year statute of

limitations. The parties agree, and the Court previously found,

that most of Commerzbank’s claims are subject to the German

statute of limitations. CB MTD Order, 234 F. Supp. 3d at 468-71.


22The Plaintiffs’ invocation of Davis v. Scottish Re Group Ltd., No.
654027/2013, 2019 N.Y. Misc. LEXIS 1820 (N.Y. Sup. Ct. Apr. 10, 2019), is
without merit. The Plaintiffs cite Davis to argue that relation back is
foreclosed in these circumstances only if the plaintiff initially lacked
standing for every claim asserted in its complaint. To the extent that Davis
applied such a rule, it appears to conflict with the Appellate Division’s
decision in U.S. Bank, which foreclosed relation back of certain contract
claims even though the plaintiffs’ complaint was not entirely dismissed. 45
N.Y.S.3d at 18. In this case, only the claims relating to two tranches of
Certificates from one Trust are barred because it is only those certificates
which are alleged to have required Ambac’s consent prior to suit and which
Phoenix Light failed to obtain.



                                      45
     Case 1:14-cv-10103-JGK-DCF Document 435 Filed 02/08/22 Page 46 of 114



The parties dispute which statute of limitations applies to the

claims arising out of 29 Certificates held by Phoenix Light. 23

The Plaintiffs also argue that regardless of what statute of

limitations period applies, their claims are still timely.

                    1. Statute of Limitations Applicable
                           to Phoenix Light’s Claims

     “When a nonresident sues on a cause of action accruing outside

New York, [N.Y. C.P.L.R.] § 202 requires the cause of action to

be timely under the limitation periods of both New York and the

jurisdiction where the cause of action accrued.” Global Fin.

Corp. v. Triarc Corp., 715 N.E.2d 482, 484 (N.Y. 1999). When a

cause of action has been assigned, the question of where and

when the cause of action accrued focuses on the original

assignor. See Portfolio Recovery Assocs., LLC v. King, 927

N.E.2d 1059, 1061 (N.Y. 2010).

       In general, absent unusual circumstances, when the injury

of a nonresident plaintiff is purely economic, the cause of

action accrues where the plaintiff resides and sustains the

economic impact of the loss, see Glob. Fin., 715 N.E.2d at 485,

rather than where the defendant committed the wrongful act. See

Gordon & Co. v. Ross, 63 F. Supp. 2d 405, 408 (S.D.N.Y. 1999).

“If the injured party is a corporation, then the place of



23DB does not contend that claims asserted by any other Phoenix Light
Plaintiff accrued in Germany or otherwise argue that they are untimely under
the German statute of limitations.



                                      46
  Case 1:14-cv-10103-JGK-DCF Document 435 Filed 02/08/22 Page 47 of 114



residence for the purposes of [N.Y. C.P.L.R. § 202] is

traditionally the state of incorporation or the corporation’s

principal place of business.” HSN Nordbank AG v. RBS Holdings

USA Inc., No. 13-cv-3303, 2015 WL 1307189, at *5 (S.D.N.Y. Mar.

23, 2015). When an injury accrues to a trustee, courts applying

New York law look to the jurisdiction of the trust

beneficiaries, or, if the trust beneficiaries are too

geographically scattered to provide a workable basis to

determine a location, to the trust itself. See, e.g., Deutsche

Bank Nat’l Tr. Co. v. Barclays Bank PLC, 140 N.E.3d 511, 518

(N.Y. 2019). Ultimately, “the thrust of the inquiry is who

became poorer, and where did they become poorer as a result” of

the challenged conduct. HSN Nordbank AG, 2015 WL 1307189, at *5.

     As discussed above, Phoenix Light is a special purpose

vehicle, formed by WestLB to facilitate a transaction designed

to spin off WestLB’s distressed assets. At the closing of

relevant structured finance transactions, WestLB transferred

assets to Phoenix Light, which simultaneously transferred

Certificates to an indenture trustee that held the Certificates

“for the benefit of” WestLB and its risk shield Guarantors (and,

subsequently, EAA) – all Germany entities. PL-RSUF ¶¶ 38, 51-57.

The transfer to the indenture trustee granted the indenture

trustee “all of [Phoenix Light’s] right, title and interest in

and to [the assets, including the Certificates] whether now


                                   47
     Case 1:14-cv-10103-JGK-DCF Document 435 Filed 02/08/22 Page 48 of 114



owned or existing or hereafter arising or acquired.” Biron PL-

Ex. 96 § 2.1 (agreement governing the Phoenix Light

securitization transaction); PL-RSUF ¶ 38.

       Courts in this Circuit interpreting identical and

substantially similar granting clauses have found that such

clauses effect a true and complete transfer of rights and claims

to the indenture trustee. See PL v. U.S. Bank III, 2021 WL

4515256, at *2; 24 see also Triaxx Prime CDO 2006-1, Ltd. v. Bank

of N.Y. Mellon, No. 16-cv-1597, 2017 WL 1103033, at *3 (S.D.N.Y.

Mar. 21, 2017). Because the indenture trustee held the assets

for the benefit of known and easily identifiable beneficiaries

when the claims accrued with respect to the relevant

Certificates, it was the trust’s beneficiaries (the Phoenix

Light noteholders and risk shield guarantors) who were injured.

Accordingly, Phoenix Light’s claims arising out of its 29

Certificates (see Biron PL-Ex. 73) accrued in Germany and are

governed by the German statute of limitations.

       The German statute of limitations applies because Phoenix

Light’s claims are based upon alleged breaches of contractual

obligations and other duties that were owed to the indenture



24In PL v. U.S. Bank III, the court of appeals found that Phoenix Light’s
grant of its interests to the indenture trustee constituted a “complete
transfer” and “conveyed in toto all interest” that Phoenix Light had in the
certificates. PL v. U.S. Bank III, 2021 WL 4515256, at *2. Accordingly,
Phoenix Light is also collaterally estopped from relitigating this issue. See
supra Section II.A.1.a.



                                      48
  Case 1:14-cv-10103-JGK-DCF Document 435 Filed 02/08/22 Page 49 of 114



trustee at the time of the alleged breaches, for the benefit of

the WestLB, its guarantors, and EAA. In these circumstances,

Phoenix Light, to the extent that it can assert claims at all,

can do so only as the assignee of rights conveyed to it by the

indenture trustee and the trust’s beneficiaries. Accordingly,

Phoenix Light cannot “stand in a better position than that of”

the indenture trustee and trust beneficiaries for purposes of

statute of limitations. See Portfolio Recovery Assocs.,

LLC v King, 927 N.E.2d 1059 (N.Y. 2010).

     For these same reasons, Phoenix Light’s arguments based on

Judge Sullivan’s decision in House of Europe Funding I, Ltd. v.

Wells Fargo Bank, N.A., No. 13-cv-519, 2014 WL 1383703 (S.D.N.Y.

Mar. 31, 2014), are without merit. Phoenix Light argues that the

House of Europe stands for the proposition that Phoenix Light’s

place of incorporation must be the location where its claims

accrued. See id. at *15 (rejecting the argument that the

plaintiff corporation’s injury accrued where its investors

resided). But in House of Europe, Judge Sullivan recognized that

where a plaintiff assigns its rights through a granting clause

(as Phoenix Light did), that plaintiff is not a real party in

interest to any claims that arise from those rights when those

claims accrue. Id. at *15-16. Because Phoenix Light’s claims are

based on alleged injuries caused while the indenture trustee,

WestLB, its guarantors, and EAA were the real parties in


                                   49
     Case 1:14-cv-10103-JGK-DCF Document 435 Filed 02/08/22 Page 50 of 114



interest to the relevant claims, those claims accrued to those

entities in Germany, not to Phoenix Light. See id.; see also

Triaxx Prime, 2017 WL 1103033, at *5.

       Because Phoenix Light’s claims accrued in Germany, to be

timely under N.Y. C.P.L.R. § 202, Phoenix Light’s claims must be

timely under both New York and German law.

                      2. German Statute of Limitations

     The parties agree that Section 195 of the German Civil Code

provides the relevant statute of limitations for the Plaintiffs’

claims. Section 195 establishes a three-year limitations period

that “begins to run at the end of the calendar year in which 1)

the claim arose and 2) the plaintiff either has knowledge of the

circumstances giving rise to the claim and the identity of the

defendant, or would have had such knowledge but for gross

negligence.” IKB Deutsche Industriebank AG v. McGraw Hill Fin.,

Inc., 634 F. App’x 19, 22 (2d Cir. 2015); Commerzbank AG, 457 F.

Supp. 3d at 246; see also Rohe PL Decl. ¶¶ 9-21. 25

       A “plaintiff has knowledge of the circumstances giving rise

to the claim when [the plaintiff] obtains knowledge of the facts



25The parties have submitted dueling expert reports — from Doctor Heinz–Peter
Mansel on behalf the Plaintiffs, and Doctor Mathias Rohe on behalf of DB,
respectively — regarding the application of German law to this case. Pursuant
to Federal Rules of Civil Procedure 44.1, questions of foreign law are
treated as questions of law and the Court “may consider any relevant material
or source, including testimony, whether or not submitted by a party or
admissible under the Federal Rules of Evidence.” Fed. R. Civ. P. 44.1; CB MTD
Order, 234 F. Supp. 3d at 472.



                                      50
  Case 1:14-cv-10103-JGK-DCF Document 435 Filed 02/08/22 Page 51 of 114



necessary to commence an action in Germany with an expectation

of success or some prospect of success, though not without risk

and even if the prospects of success are uncertain.” IKB, 634 F.

App’x at 22. “To satisfy this standard, a plaintiff need not

know all the relevant details or have conclusive proof

available; knowledge of the factual circumstances underlying the

claim is sufficient.” CB MTD Order, 234 F. Supp. 3d at 472; see

also IKB, 634 F. App’x at 22.

     Further, as DB’s German law expert, Dr. Rohe, persuasively

opined, German law imposes an affirmative “duty to investigate”

on a potential plaintiff that arises when (1) the plaintiff is

presented with evidence that suggests a particular claim against

a particular defendant; (2) there is a readily available means

of gaining further knowledge of the claim; and (3) the

investigation would yield sufficient information necessary to

state the claim and could be conducted without disproportionate

expense. Rohe PL Decl. ¶¶ 45-46. Dr. Rohe opined that the German

Federal Supreme Court has “held repeatedly that commercial

actors who are engaged in the business of investing are

obligated to review respected business publications.” Id. ¶ 45;

see also Commerzbank AG, 457 F. Supp. 3d at 248

(“[S]ophisticated investors are charged with a heightened duty

to investigate possible claims under German law” (quoting In re




                                   51
     Case 1:14-cv-10103-JGK-DCF Document 435 Filed 02/08/22 Page 52 of 114



Countrywide Fin. Corp. Mortg.-Backed Sec. Litig., No. 11-ml-

2265, 2014 WL 4162382, at *7 (C.D. Cal. June 18, 2014))).

       DB contends that under this standard, certain of the

Plaintiffs’ claims are time-barred and should be dismissed.

                a. Relation Back of Commerzbank’s Claims

       DB argues that all of Commerzbank’s claims relating to the

10 “Commerzbank Certificates” are time-barred under German law.

See Kraut Ex. A; Biron CB-Ex. 69. DB also seeks summary judgment

dismissing all of Commerzbank’s claims relating to the 20

“Palmer-3 Certificates” that accrued after they were transferred

to Dresdner/Commerzbank, and summary judgment dismissing all

claims relating to the 22 “Eurohypo Certificates” other than

post-EOD claims arising from the 2014 Downgrade EOD relating to

the MSAC 2005-HE7 B1 and MSHEL 2005-4 B1 Certificates. 26 Id.


26DB concedes that Commerzbank’s claims relating to the Palmer 3 Certificates
that accrued before their transfer to Commerzbank did not accrue in Germany
and are not subject to the German statute of limitations. CB MSJ at 16. It is
unclear what DB’s position is with respect to the Barrington II Certificates.
DB incorrectly contends that the Court determined in the CB MTD Order that
claims arising out of the Barrington II Certificates that accrued after their
transfer to Commerzbank are subject to the German statute of limitations. Id.
The Court did not discuss the Barrington II Certificates in the CB MTD Order
and made no such finding. See generally CB MTD Order, 234 F. Supp. 3d at 468-
71. Moreover, in its opening brief, DB argued that claims relating to the
Barrington II Certificates that accrued after their transfer to Commerzbank
are time-barred under German law, CB MSJ at 24, but in the argument summary
chart that DB submitted with its reply brief, DB appears to have abandoned
that argument. Kraut Ex. A at A-2. In a letter to the Court after oral
argument, DB reaffirmed that DB set forth its statute of limitations
arguments in the argument summary chart. CB ECF No. 275. In any event, even
if post-transfer claims relating to the Barrington II Certificates were
subject to the German statute of limitations, those claims would be timely
under German law. Claims arising out of these Certificates were first
asserted in Commerzbank’s original complaint in 2015 and so would be untimely
under German law only if Commerzbank had sufficient knowledge of these claims
before January 1, 2012. Because all Barrington II Certificates were


                                      52
   Case 1:14-cv-10103-JGK-DCF Document 435 Filed 02/08/22 Page 53 of 114



      Whether Commerzbank’s claims are time-barred depends in

part on the applicable filing dates for its claims. There is no

dispute that in Commerzbank’s original complaint (filed December

23, 2015) and the CB FAC (filed April 15, 2016), Commerzbank

advanced (1) claims that DB failed to investigate and seek to

cure breaches of R&Ws by RMBS sponsors and originators; and (2)

claims based on incomplete mortgage files, servicer robo-

signing, and real estate foreclosure issues. There is also no

dispute that these claims are time-barred if Commerzbank had the

requisite knowledge of these claims by January 1, 2012 (the

start of the third calendar year before the original complaint

was filed).

      In the November 2017 CB SAC, Commerzbank included

additional claims based on allegations that DB breached its

post-EOD “prudent person” duties arising from the Loss EODs, the

2012 Downgrade EODs, and the 2014 Downgrade EOD (collectively,

the “Declared EODs”). The parties dispute whether these claims

relate back to Commerzbank’s original complaint and therefore

what the applicable filing date for these claims should be.

      Commerzbank argues that claims relating to the Declared

EODs arise “out of the same conduct, transaction, or occurrence

set out — or attempted to be set out — in the” original


transferred to Commerzbank after January 1, 2012, none of the post-transfer
claims can be time-barred under German law. See Biron CB-Ex. 69.



                                     53
  Case 1:14-cv-10103-JGK-DCF Document 435 Filed 02/08/22 Page 54 of 114



complaint. See Fed. R. Civ. P. 15(c)(1)(B). But the allegations

in the CB TAC relating to the Declared EODs are factually

distinct from the transactions and occurrences discussed in the

earlier complaints, which did not mention or reference any

Declared EOD or DB’s alleged failure to act prudently following

a Declared EOD. See, e.g., Rochester v. Sixth Precinct Police

Station, 370 F. App’x 244, 246 (2d Cir. 2010) (“[E]ven where an

amended complaint tracks the legal theory of the first

complaint, claims that are based on an entirely distinct set of

factual allegations will not relate back.”); Espinosa v. The

Delgado Travel Agency, Inc., No. 05-cv-6917, 2006 WL 2792689, at

*3 (S.D.N.Y. Sept. 27, 2006) (no relation back where “new

factual allegations focus on events, dates, and people that were

never mentioned in the original complaint”). Accordingly, claims

relating to the Declared EODs do not relate back to the earlier

complaints and are time-barred under German law if Commerzbank

had the requisite knowledge of these claims by January 1, 2014

(the start of the third calendar year before the CB SAC was

filed).

            b. Relation Back of Phoenix Light’s Claims

     DB seeks summary judgment dismissing all claims relating to

the 29 Phoenix Light Certificates as time-barred, except for

post-EOD claims arising from the 2014 Downgrade EOD relating to




                                   54
  Case 1:14-cv-10103-JGK-DCF Document 435 Filed 02/08/22 Page 55 of 114



the SABR 2007-NC2 M2 and A2B Certificates. See Kraut Ex. A;

Biron PL-Ex. 73.

     As with Commerzbank, the parties dispute the applicable

filing date of certain of Phoenix Light’s claims. There is no

dispute that the Phoenix Light Plaintiffs filed four complaints

in this action: (1) the original complaint asserting claims

relating to 35 Certificates (filed December 23, 2014); (2) the

PL FAC, adding claims relating to 52 additional Certificates

issued by different Trusts and governed by different GAs than

the Certificates in the original complaint (filed April 10,

2015); (3) the PL SAC, asserting, for the first time, standing

based on assignments from the indenture trustee (filed July 15,

2015); and (4) the PL TAC, asserting new claims arising from

alleged breaches relating to the Declared EODs (filed September

28, 2017).

     Phoenix Light does not dispute that the claims related to

the 52 additional Certificates first advanced in the PL FAC do

not relate back to the original complaint. However, like

Commerzbank, Phoenix Light argues that claims related to the

Declared EODs (other than the 2014 Downgrade EOD) relate back to

its earlier pleadings. However, Phoenix Light did not discuss

the Declared EODs or DB’s conduct following any Declared EOD in

its original complaints. Phoenix Light’s argument therefore




                                   55
  Case 1:14-cv-10103-JGK-DCF Document 435 Filed 02/08/22 Page 56 of 114



fails for the same reasons that Commerzbank’s parallel argument

failed.

     Accordingly, claims advanced in the original complaint and

the PL FAC are time barred if Phoenix Light had the requisite

knowledge of these claims by January 1, 2011, and January 1,

2012, respectively. Claims related to the Declared EODs are

untimely under German law if Phoenix Light had the requisite

knowledge of those claims by January 1, 2014.

            c. Application of German Statute of Limitations

     DB argues that the Plaintiffs had knowledge of their claims

by 2011 and 2012, which triggered the German statute of

limitations period and renders many of the Plaintiffs’ claims

untimely. The Plaintiffs contend that dismissal on this basis is

inappropriate because there are genuine disputes of material

fact relating to when the Plaintiffs had sufficient knowledge of

their claims and therefore when the German statute of

limitations started to run. DB’s arguments prevail for several

reasons.

     First, there is no genuine dispute of material fact that

the Plaintiffs, before the relevant limitations periods, knew of

allegations of misconduct by warrantors and knew that DB had not

declared any EODs relating to R&W breaches or pursued the

repurchase remedies provided for in the GAs. See, e.g., PL-RSUF

¶¶ 62.2, 66; CB-RSUF ¶¶ 50.2, 56; see also Biron PL-Exs. 138-40;


                                   56
  Case 1:14-cv-10103-JGK-DCF Document 435 Filed 02/08/22 Page 57 of 114



Biron CB-Ex. 78. The evidence in the record establishes that the

Plaintiffs received monthly remittance reports showing that few,

if any, loans had been put back to warrantors. By 2010 and 2011,

the Plaintiffs had become sufficiently concerned about possible

R&W breaches that they sought to coalesce support among other

investors to direct DB to take action. See, e.g., PL-RSUF

¶¶ 66.7-14; CB-RSUF ¶¶ 56.16-19; Biron CB-Exs. 58-60; Biron PL-

Exs. 58-60.

     The record is also clear that Commerzbank was aware of the

likelihood of significant declines in the market value of

certain Certificates based on the analyses of internal and

third-party valuation specialists. Commerzbank had marked the

value of at least 34 Certificates as “fully written off” or $0

by January 1, 2012. See CB-RSUF ¶¶ 49-50; Biron CB-Ex. 84. And

by 2011, Commerzbank was in communication with legal counsel and

other RMBS certificateholders to develop an understanding of

their options to pursue legal actions relating to alleged R&Ws

breaches relating to underlying mortgages. CB-RSUF ¶¶ 56.17-19.

Further, Commerzbank alleged in its SAC that when it began to

sell the Sold Certificates in November 2011, DB’s alleged

breaches, including its failure to cause “the sponsors or

originators to substitute or repurchase” loans with R&W

breaches, “significantly reduced the sales price Commerzbank

ultimately received when it divested itself of the certificates”


                                   57
  Case 1:14-cv-10103-JGK-DCF Document 435 Filed 02/08/22 Page 58 of 114



because “it was apparent that [DB] had breached its duties and

would not take steps to remedy its failures.” CB SAC ¶¶ 167-68.

Consistent with this evidence and Commerzbank’s allegations,

when the New York State Supreme Court dismissed Commerzbank’s

prior action relating to 51 of the 74 Certificates at issue in

this case, the court specifically stated that “the plaintiffs

could with reasonable diligence have discovered [fraud relating

to the certificates] prior to 2011,” in no small part because,

as Commerzbank admitted in that case, “forensic loan level

analysis was available [for the loans underlying the

certificates at issue] in 2010 and 2011.” Commerzbank AG London

Branch v. UBS AG, No. 654464/2013, 2015 WL 3857321, at *2–3

(N.Y. Sup. Ct. June 17, 2015); CB-RSUF ¶¶ 46-47.

     Second, the record clearly establishes that prior to 2011,

the Plaintiffs had sufficient knowledge of their claims relating

to DB’s alleged failure to follow up on incomplete or defective

mortgage files or servicer failures and to provide notice to

other transaction parties of EODs. It is undisputed that DB

publicly disseminated allegations of servicer robo-signing and

real estate owned (“REO”) property and foreclosure issues, and

that DB reminded certificateholders of their power to direct DB

to take action, including in letters from October 2010. PL-RSUF




                                   58
     Case 1:14-cv-10103-JGK-DCF Document 435 Filed 02/08/22 Page 59 of 114



¶ 67.5; CB-RSUF ¶ 57.5. 27 It is also clear that the Plaintiffs

were aware that DB did not declare EODs based on such servicer

issues. PL-RSUF ¶ 68; CB-RSUF ¶ 57. For example, Commerzbank

joined with a group of investors in requesting that DB take

steps to remedy failures by a specific servicer. A letter to DB

dated January 31, 2012 from Gibbs & Brunns on behalf of

Commerzbank and a group of other investors noted specific and

ongoing issues with servicers and mentioned that the group had

informed a servicer in October 2011 that the group believed the

servicer “had failed to meet its ongoing duties as Servicer

and/or Master Servicer.” Biron CB-Ex. 102 at 2; see also Biron

CB-Ex. 120 at 54-58. All this evidence demonstrates that the

Plaintiffs had sufficient knowledge to trigger the German

statute of limitations period with respect to these alleged

breaches.

     Finally, with respect to the Plaintiffs’ claims that DB

breached its “prudent person” duties following certain Declared

EODs, there can be no genuine dispute that the Plaintiffs had

sufficient knowledge of any purported breaches prior to 2014.

The parties do not appear to dispute that DB had declared EODs

for the Loss EODs and 2012 Downgrade EODs. Further, it appears




27Allegations of servicer misconduct had already been the topic of public
news reports, high profile government investigations, and lawsuits before
2012. CB SAC ¶ 133; CB-RSUF ¶ 57.6; Biron CB-Ex. 63.



                                      59
  Case 1:14-cv-10103-JGK-DCF Document 435 Filed 02/08/22 Page 60 of 114



undisputed that DB did not take action other than sending

notices to the relevant certificateholders to inform them of the

EODs. Indeed, the crux of the Plaintiffs’ claims related to the

Declared EODs is that DB failed to do anything after they

declared these EODs and failed to pursue remedies in a manner

consistent with that of a “prudent person.” However, given that

the Plaintiffs received notice from DB of the Loss EODs in 2010

and the Downgrade EODs in 2012, the Plaintiffs clearly had

sufficient knowledge — or were grossly negligent in failing to

acquire knowledge — of the fact that despite the declared EOD,

DB was not taking the steps that the Plaintiffs would have

preferred DB to take. Accordingly, any claim based on the Loss

EODs and the 2012 Downgrade EODs are time-barred under German

law.

  The Plaintiffs contend that DB’s statute of limitations

arguments fail because DB failed to show that the Plaintiffs had

trust-by-trust and loan-by-loan knowledge. However, this

argument confuses the Plaintiffs’ burden at summary judgment or

trial with the level of knowledge sufficient to commence the

German statute of limitations period and is unsupported by

federal court precedent applying Germany’s statute of

limitations. See Commerzbank AG, 457 F. Supp. 3d at 247

(rejecting identical argument from Commerzbank); IKB, 634 F.

App’x at 22 (“[A] plaintiff need not know all the relevant


                                   60
     Case 1:14-cv-10103-JGK-DCF Document 435 Filed 02/08/22 Page 61 of 114



details or have conclusive proof available” to trigger the

German statute of limitations, rather, “knowledge of the factual

circumstances underlying the claim is sufficient.”). Moreover,

German law contemplates that plaintiffs, particularly those as

sophisticated as the Plaintiffs in this case, exercise

reasonable care in investigating potential claims. Rohe PL Decl.

¶¶ 45-46; Rohe CB Decl. ¶¶ 39-42; see also Deutsche Zentral-

Genossenchaftsbank AG v. HSC N. Am. Holdings, Inc., No. 12-cv-

4025, 2013 WL 6667601, at *8 (S.D.N.Y. Dec. 17, 2013) (rejecting

Dr. Mansel’s testimony to the contrary and concluding that

“under German law, sophisticated plaintiffs have a heightened

duty to investigate possible claims.”). 28 Despite this duty to

investigate, the Plaintiffs did not contact DB to ask what

action, if any, it was taking with respect to alleged breaches,

misconduct, and defective loan files. See, e.g., Rohe PL Decl.

¶ 54; Rohe CB Decl. ¶ 48. Further, although the Plaintiffs had

discovery mechanisms available to them had they pursued German

litigation, they failed to take advantage of any of them. Rohe

PL Reply Decl. ¶¶ 24-27; see also 28 U.S.C. § 1782. In any

event, Commerzbank conceded in an earlier action that relevant


28Based on the available news coverage in the United States and Germany, Dr.
Rohe opined that a German court would conclude that by December 31, 2011, the
Phoenix Light Plaintiffs were grossly negligent in failing to acquire
knowledge sufficient to bring their claims. Rohe PL Decl. ¶¶ 49-59.
Similarly, Dr. Rohe opined that Commerzbank either had knowledge or was
grossly negligent in failing to acquire knowledge sufficient to bring claims
by the end of 2012. Rohe CB Decl. ¶¶ 43-48.



                                      61
  Case 1:14-cv-10103-JGK-DCF Document 435 Filed 02/08/22 Page 62 of 114



“forensic loan level analysis was available in 2010 and 2011.”

Commerzbank AG London Branch, 2015 WL 3857321, at *3.

     Additionally, any argument that the Plaintiffs were aware

of sponsor, originator, or servicer breaches, but not breaches

by DB as the trustee, is unpersuasive. The logical inference to

be drawn from the Plaintiffs’ observed issues with sponsors,

originators, and servicers, the monthly remittance reports, the

few notices of EOD received from DB, and the lack of reported

steps to remediate such issues is, or should have been, clear.

As Judge Pauley found relating to similar claims brought by

Commerzbank, in light of known facts relating to servicer

failures, “Commerzbank logically should have targeted actions

against the Trustee . . . it is hard to fathom how — but for

gross negligence — [the Plaintiffs] did not learn of facts

sufficient to bring their claim.” Commerzbank AG, 457 F. Supp.

3d at 248. If the Plaintiffs were aware of the alleged breaches

of R&Ws and following the monthly reports, then the Plaintiffs

were aware — or were grossly negligent in not knowing — that DB

was not pursuing such breaches. Similarly, once the Plaintiffs

were aware of servicer issues and the fact that DB was not

taking action after declaring EODs, the Plaintiffs had knowledge

of facts sufficient to bring their claims.

     Finally, the Plaintiffs’ argument that additional or

successive breaches restarted the statute of limitations clock


                                   62
  Case 1:14-cv-10103-JGK-DCF Document 435 Filed 02/08/22 Page 63 of 114



under German law is unpersuasive. It is clear that German law

applies the principal of “unity of damages,” pursuant to which

ongoing breaches do not restart or toll the Plaintiffs’ statute

of limitations period. See, e.g., Rohe Pl-Decl. ¶¶ 22-28;

Commerzbank AG v. U.S. Bank Nat’l Ass’n, No. 16-cv-4569, 2021 WL

603045, at *5 (S.D.N.Y. Feb. 16, 2021) (rejecting Commerzbank’s

argument that under German law, “each successive breach should

restart the statute of limitations.”).

     Accordingly, all of Phoenix Light’s claims related to the

29 Phoenix Certificates listed in Biron PL-Ex. 73 are time-

barred, except post-EOD claims arising from the 2014 Downgrade

EOD that affected SABR 2007-NC2 M2 and A2B. Similarly, all of

Commerzbank’s claims relating to the 10 Commerzbank Certificates

identified in Biron CB-Ex. 69 and the 20 Palmer-3 Certificates

(for claims after the merger of Dresner and Commerzbank)

identified in Biron CB-Ex. 69 are dismissed. In addition, all

Commerzbank claims relating to the 22 Eurohypo Certificates

identified in Biron CB-Ex. 69 are time-barred, except for post-

EOD claims relating to the 2014 Downgrade EOD affecting MSAC

2005-HE7 B1 and MSHEL 2005-4 B1.

                  3. New York Statute of Limitations

  DB also argues that certain of the Plaintiffs’ claims are

untimely under the New York statute of limitations. DB’s New

York statute of limitations arguments concern three categories


                                   63
  Case 1:14-cv-10103-JGK-DCF Document 435 Filed 02/08/22 Page 64 of 114



of claims: (1) claims that DB breached its “prudent person”

duties following the Loss EODs for 19 trusts (Biron PL-Ex. 29

(listing the 11 relevant Phoenix Light Plaintiffs trusts); Biron

CB-Ex. 29 (listing the eight relevant Commerzbank trusts)); (2)

claims that DB breached duties relating to alleged R&W breaches

in certain loans (Reyes PL-Ex. I (listing relevant Phoenix Light

Plaintiffs loans); Reyes CB-Ex. I (listing relevant Commerzbank

loans)); and (3) claims relating to the 20 Palmer-3 Certificates

that accrued before those Certificates were transferred to

Dresdner/Commerzbank in 2008 (Biron CB-Ex. 69 (listing the

Palmer-3 Certificates)). Under New York law, the longest statute

of limitations governing the Plaintiffs’ claims is six years.

See N.Y. C.P.L.R. §§ 214(4), 213(2) (breach of contract and tort

statute of limitations); IDT Corp. v. Morgan Stanley Dean Witter

& Co., 907 N.E.2d 268, 273 (N.Y. 2009) (breach of fiduciary duty

statute of limitations); Cruden v. Bank of N.Y., 957 F.2d 961,

967 (2d Cir. 1992) (TIA statute of limitations).

                          a. Loss EOD Claims

  There is no genuine dispute that DB notified investors of the

Loss EODs relating to 11 Phoenix Light Plaintiffs trusts (“PL

Loss EOD Trusts”) between March 2009 and March 2011 and of the

Loss EODs in the eight Commerzbank trusts (“CB Loss EOD Trusts”)

between August 2008 and September 2010. PL-RSUF ¶ 78; CB-RSUF ¶

58.


                                   64
  Case 1:14-cv-10103-JGK-DCF Document 435 Filed 02/08/22 Page 65 of 114



     As discussed above, claims relating to the Loss EODs were

first raised in 2017 in the CB SAC and PL TAC and do not relate

back to any earlier pleading. DB argues that Loss EOD claims

related to the PL and CB Loss EOD Trusts accrued more than six

years before the CB SAC and PL TAC were filed and are therefore

untimely under New York law.

     Under New York law, the limitations period on a claim for

breach of contract begins to run when the cause of action

accrues. A cause of action for breach of contract ordinarily

accrues and the limitations period begins when breach occurs,

regardless of whether the plaintiff has knowledge of the breach.

Guilbert v. Gardner, 480 F.3d 140, 149 (2d Cir. 2007); Hahn

Auto. Warehouse, Inc. v. Am. Zurich Ins. Co., 967 N.E.2d 1187,

1190 (N.Y. 2012) (claim for breach of contract accrues “when all

of the facts necessary to the cause of action have occurred so

that the party would be entitled to obtain relief in court”).

However, if “a contract requires continuing performance over a

period of time, each successive breach may begin the statute of

limitations running anew.” Guilbert, 480 F.3d at 150. “Under New

York law the continuing breach exception is narrow, restricted

to continuing wrongs, not a single wrong that has continuing

effects.” BlackRock Balanced Cap. Portfolio (FI), 2018 WL

5619957, at *12.




                                   65
     Case 1:14-cv-10103-JGK-DCF Document 435 Filed 02/08/22 Page 66 of 114



       With respect to the PL Loss EOD Trusts, DB argues that any

alleged breach accrued before September 2011 (six years before

the PL TAC was filed). DB relies on notices that it circulated

to investors between March 2009 and March 2011 in which DB

apprised investors of the Loss EODs. PL-RSUF ¶ 78. While the

exact language varies across the notices, in substance each

notice advised recipients of the fact that under the relevant

GA, a majority bloc of investors has the power to direct DB to

terminate servicers or take other remedial actions:

       We call your attention to Section [sic] Article VII of
       the Agreement, which provides that if the Servicer Event
       of Default then [sic], and in each and every case, so
       long as such Servicer Event of Default shall not have
       been remedied, the Trustee shall at the direction of the
       Holders of each Class of Regular Certificates evidencing
       Percentage Interests aggregating not less than 51 % by
       notice then given in writing to the Servicer and to the
       Trustee if given by Holders of certificates, shall
       terminate all of the rights and obligations of the
       Servicer as servicer under the Agreement.

See, e.g., Biron PL-Ex. 111. Some but not all of the notices

also included a reservation of rights and a recommendation that

investors consult with their financial, tax, and/or legal

advisors in connection with the Loss EODs. 29




29See, e.g., Biron PL-Ex. 111 (“The Trustee expressly reserves any and all
rights and remedies which it may now or hereafter be entitled to exercise in
connection with the Certificates or the Agreement. The Trustee makes no
recommendations and gives no investment, legal or tax advice to Holders. EACH
HOLDER IS STRONGLY ADVISED TO CONSULT WITH ITS OWN FINANCIAL, TAX AND/OR
LEGAL ADVISORS REGARDING THESE MATTERS.”).



                                      66
  Case 1:14-cv-10103-JGK-DCF Document 435 Filed 02/08/22 Page 67 of 114



  DB argues that the notices apprised investors that DB would

not take further action with respect to the Loss EODs without

investor direction. Therefore, according to DB, any post-EOD

failure to act as a prudent person or take any action other than

simply wait for investor direction accrued when the notices were

circulated.

     The Plaintiffs argue that the exact time when DB failed to

act prudently post-EOD, and therefore when the breaches accrued,

cannot be resolved on summary judgment. The Plaintiffs also

argue that because prudence post-EOD is a continuing duty and

that under New York law, DB’s successive breaches repeatedly

restarted the statute of limitations clock.

     On this record, there is no genuine dispute of fact that

any alleged breach by DB occurred and accrued when the notices

were circulated between 2009 and 2011. The notices apprised

investors of the Loss EODs and reminded recipients that

investors could direct DB to terminate the servicers or take

other actions. Conspicuously absent from the notices was any

indication that DB intended to take any further action absent

investor direction. The Plaintiffs’ own mortgage-backed

securities expert opined that the “notices merely stated that

[DB] would terminate the servicer or take any other unspecified

actions, if directed to do so. Such a statement is tantamount to

disclaiming [DB’s] duty to act as a prudent person.” Fitzgerald


                                   67
  Case 1:14-cv-10103-JGK-DCF Document 435 Filed 02/08/22 Page 68 of 114



Ex. 236 ¶ 189 (emphasis added). Moreover, to the extent that

recipients were left wondering what, if anything, DB was going

to do following the Loss EODs, they could have contacted DB and

asked using the contact information provided in the notices.

E.g., Biron PL-Ex. 111 (recipients could contact “[phone number]

or [email address] with any questions you may have regarding

this notice.”).

     Moreover, the Plaintiffs’ argument that DB’s failure to act

following the Loss EODs constituted repeated, successive

breaches is without merit. New York contract law distinguishes

between “a single wrong that has continuing effects and a series

of independent, distinct wrongs,” and allows an exception to the

typical accrual rules only in the latter case. See Maloul v. New

Columbia Res., Inc., No. 15-cv-8710, 2017 WL 2992202, at *5

(S.D.N.Y. July 13, 2017). Here, DB’s decision to take no action

absent investor direction is single, discrete decision, and any

alleged harm sustained by the Plaintiffs was caused by that

decision. See BlackRock Balanced Cap. Portfolio, 2018 WL

5619957, at *12 (observing that a similar argument regarding

alleged continuous breaches by the same defendants was “unlikely

to succeed” under New York’s “narrow” continuing breach

exception). To hold otherwise would eviscerate the statute of

limitations in these circumstances by allowing the clock to




                                   68
  Case 1:14-cv-10103-JGK-DCF Document 435 Filed 02/08/22 Page 69 of 114



perpetually restart even though any alleged injury is traceable

to a decision, that DB announced to investors, to do nothing.

     As to the CB Loss EOD Trusts, the relevant claims are

untimely under New York law because they are untimely under

German law. See Global Fin. Corp., 715 N.E.2d at 484 (N.Y.

C.P.L.R. § 202 requires claims to be timely under the limitation

periods of both New York and the jurisdiction where the claims

accrued).

                       b. Pre-EOD R&W Breaches

     It is undisputed that in and before 2009, DB received

letters from third parties identifying specific loans in Trusts

that allegedly breached one or more R&Ws. PL-RSUF ¶ 79; CB-RSUF

¶ 67. As to the Phoenix Light Plaintiffs, DB received notice

regarding loans that were held in Trusts identified in the

Phoenix Light Plaintiffs’ original complaint before December 23,

2008 (six years before the original complaint) and notice

regarding loans that were held in Trusts identified in the PL

FAC before April 11, 2009 (six years before the PL FAC). As to

Commerzbank, DB received notice regarding loans that were held

in Trusts identified in Commerzbank’s original complaint before

December 23, 2009 (six years before the original complaint). In

view of these undisputed facts, DB argues that any claim that it

breached its pre-EOD contractual duties to give notice, enforce

repurchase obligations, or take any other action concerning


                                   69
     Case 1:14-cv-10103-JGK-DCF Document 435 Filed 02/08/22 Page 70 of 114



these loans accrued shortly after it received these notices and

are time-barred under the New York statute of limitations. 30

       DB first argues that under the GAs for 37 of the 45

relevant Trusts with alleged loan-level R&W breaches, DB had no

duty to enforce repurchase obligations. As discussed below (see

infra Section IV.A.4), where a GA did not explicitly provide

that DB had a duty to enforce repurchase obligations, DB was

under no contractual duty to do so. Because DB could not have

breached repurchase obligations for those Trusts, DB’s statute

of limitations arguments for those claims are moot.

       As to four additional Trusts, DB concedes that it had a

contractual duty to enforce repurchase obligations. However, DB

argues that any claim that it breached those duties is untimely



30If the Court found that certain of these claims accrued in Germany and are
untimely under German law, then those claims need not also be untimely under
the New York statute of limitations to be time-barred. However, the extent of
overlap between the claims subject to DB’s German statute of limitations
arguments and those subject to this New York statute of limitations argument
is unclear and not addressed in the parties’ papers. As discussed above,
claims relating to 29 Phoenix Light Certificates are subject to the German
statute of limitations. Certain of those Certificates were issued by Trusts
that are subject to DB’s New York statute of limitations arguments. Compare
Reyes PL-Ex. I, with Biron PL-Ex. 73. Other Phoenix Light Plaintiffs hold
different Certificates issued by those same Trusts. On this record, there
does not appear to be a way to determine whether the alleged R&W notices
concerned loans that were related to the relevant Certificates that Phoenix
Light held (making claims subject to the German statute of limitations),
rather a Certificate held by another Plaintiff. As to Commerzbank, claims
related to Certificates other than the Barrington II or Palmer 3 Certificates
are time-barred under German law and need not also be untimely under New York
law. However, DB appears to have received allegations of breaches of R&Ws
related to certain Barrington II and Palmer 3 Certificates before they were
assigned to Commerzbank. Compare Biron CB-Ex. 69, with Reyes CB-Ex. I; see
also, e.g., Goff Reply Ex. 26 at row 3676. Accordingly, those claims are not
subject to the German statute of limitations and so cannot be time-barred
unless they are untimely under New York law.



                                      70
  Case 1:14-cv-10103-JGK-DCF Document 435 Filed 02/08/22 Page 71 of 114



under New York law because the GAs specified that those duties

arose 60 or 90 days after DB sent notices to the relevant

parties. See Goff Reply Ex. 9 (collecting the relevant GA

provisions for these four trusts). Those GAs contain provisions

that each in substance provide as follows:

      In the event that the Trustee receives notice of a breach
      by the Depositor of any representations and warranties
      set forth in paragraphs (b), (c), (d) and (e) of Schedule
      V, the Trustee shall notify the Depositor to repurchase
      the Mortgage Loan at the Repurchase Price within sixty
      (60) [or, for some Trusts, 90] days of the Depositor’s
      receipt of such notice. If, by the end of such sixty
      (60) [or, for some Trusts, 90] day period, the Depositor
      fails to repurchase such Mortgage Loan, the Trustee
      shall pursue all legal remedies available to the Trustee
      against the Depositor under this Agreement.

Id.

      There does not appear to be a genuine dispute that DB sent

notices to the relevant parties pursuant to these provisions

when it received notice of alleged R&W breaches. See generally

Reyes CB Decl. ¶¶ 18-23; Reyes CB Decl. ¶¶ 18-23; infra Section

IV.A.3. Therefore, for these Trusts, DB is correct that claims

that it failed to enforce repurchase obligations accrued at the

end of the 60- or 90-day period following the relevant party’s

receipt of DB’s notice, because that is when any alleged breach

of DB’s repurchase obligations accrued. See Chelsea Piers L.P.

v. Hudson River Park Tr., 964 N.Y.S.2d 147, 149 (App. Div.

2013). Accordingly, any claim that DB failed to enforce

repurchase obligations for loans in these four Trusts is time-


                                   71
  Case 1:14-cv-10103-JGK-DCF Document 435 Filed 02/08/22 Page 72 of 114



barred to the extent that the relevant 60- or 90-day period

expired six years before the Plaintiffs first asserted claims

related to that Trust.

  Finally, as to four remaining Commerzbank Trusts, DB appears

to concede that it had contractual repurchase obligations and

that the relevant GA did not specify a time for performance. DB

argues that it received “the vast majority of the R&W notices”

for these Trusts “over a year before” December 23, 2009 (six

years before Commerzbank filed its original complaint). See

Reply at 20.

  “Where a contract does not specify a date or time for

performance, New York law implies a reasonable time period.”

Guilbert, 480 F.3d at 149. What constitutes a reasonable time is

“ordinarily a question for a jury.” Tedeschi v. Northland

Builders, LLC, 904 N.Y.S.2d 786, 788 (N.Y. 2010). However,

depending on the circumstances presented in each case, a court

may conclude as a matter of law that the reasonable time for

performance has expired by a certain date. Id.

  Courts have rejected arguments similar to those advanced by DB

from RMBS trustees at the motion to dismiss stage, emphasizing

that “[w]hat constitutes a reasonable time period for

performance depends on the facts and circumstances of the

particular case” and cannot be resolved without a developed

record. See, e.g., W. & S. Life Ins. Co. v. U.S. Bank Nat’l


                                   72
  Case 1:14-cv-10103-JGK-DCF Document 435 Filed 02/08/22 Page 73 of 114



Ass’n, No. 650259/2019, 2020 WL 6534496, at *7 (N.Y. Sup. Ct.

2020). Here, DB raises this argument on a motion for summary

judgment. However, DB does not point to any evidence in the

record that supports its argument that waiting a year or more to

enforce repurchase obligations is unreasonable as a matter of

law in view of the relevant facts and circumstances.

Accordingly, to the extent that repurchase claims as to these

four Trusts were not dismissed as untimely under German law, DB

failed to demonstrate that these claims are time-barred under

New York law.

                      c. Palmer 3 Certificates

     It is undisputed that the Palmer 3 Certificates were

transferred to Commerzbank (or Dresdner) more than six years

before it filed its original complaint. CB-RSUF ¶ 69. DB

cursorily argues that it is entitled to summary judgment that

“any claims that accrued while those certificates were in the

Palmer 3 asset portfolio” are time-barred under New York law. CB

MSJ at 27. However, neither party analyzed which claims, if any,

in fact accrued under New York law before the Palmer 3

Certificates were transferred to Commerzbank. To the extent that

the parties dispute whether certain claims accrued before or

after the Certificates were transferred and the relevant statute

of limitations date, DB has not, as the moving party, satisfied

its burden of demonstrating that there are no disputes of


                                   73
  Case 1:14-cv-10103-JGK-DCF Document 435 Filed 02/08/22 Page 74 of 114



material fact. Accordingly, DB is not entitled to summary

judgment on any such claims. See Commerzbank AG, 457 F. Supp. 3d

at 248-49 (denying summary judgment where the plaintiff “only

dedicated seven lines in its brief to the timeliness of

[certain] claims”).

            C. Claims Relating to Specific Warrantors

  DB argues that it is entitled to summary judgment on the

Plaintiffs’ claims relating to DB’s alleged failure to pursue

claims for breaches of R&Ws against certain warrantors.

Specifically, DB argues that certain of the Plaintiffs’ claims

are premised on DB’s alleged failure to pursue claims that would

have been precluded by bankruptcy proceedings, were released

under settlement agreements, or are otherwise time-barred.

                         1. Bankrupt Warrantors

  DB argues that the Plaintiffs’ claims based on DB’s failure to

pursue repurchase claims against warrantors for breaches of R&Ws

are time-barred if the relevant warrantors filed for bankruptcy

more than six years before the Plaintiffs initiated these

actions. DB points to 11 warrantors that filed for bankruptcy

more than six years before the Phoenix Light Plaintiffs filed

suit and 17 warrantors that filed for bankruptcy more than six

years before Commerzbank filed suit (collectively, the “Bankrupt

Warrantors”). See Biron PL-Ex. 31; Biron CB-Ex. 31.




                                   74
     Case 1:14-cv-10103-JGK-DCF Document 435 Filed 02/08/22 Page 75 of 114



       Claims that DB should have pursued repurchase claims

against any Bankrupt Warrantor suffer from a fatal timing

defect. As a result of the bankruptcy filings, the Bankrupt

Warrantors’ bankruptcy stays preclude DB from taking any action

outside of the bankruptcy proceedings against any Bankrupt

Warrantor or bringing any new claims after the bankruptcy bar

dates had passed. See 11 U.S.C. § 362(a); Fed. R. Bankr.

P. 3003(c)(2); see also Fixed Income Shares: Series M v.

Citibank N.A., 314 F. Supp. 3d 552, 557-58 (S.D.N.Y. 2018)

(noting that attempts by an RMBS trustee to seek contractual

remedies against warrantors would likely have required

bankruptcy court approval as “executory contracts”).

Accordingly, for these claims, the Plaintiffs “cannot establish

breach, causation, or damages — all necessary elements for their

claims.” See Fixed Income Shares, 314 F. Supp. 3d at 557-58. 31

        The Plaintiffs do not appear to dispute that DB is

entitled to summary judgment dismissing any claim that DB should

have pursued repurchase claims against any of the Bankrupt

Warrantors. Moreover, the Plaintiffs concede that DB is entitled

to summary judgment dismissing all repurchase claims for the

eight Trusts listed in Goff Reply Ex. 10 because those Trusts




31Moreover, any argument that DB should have taken action before the relevant
bankruptcy stays fails, because such claims would have accrued more than six
years prior to the relevant complaints and would be time-barred.



                                      75
     Case 1:14-cv-10103-JGK-DCF Document 435 Filed 02/08/22 Page 76 of 114



only had Bankrupt Warrantors. See Opp’n at 22. Accordingly, DB’s

motion for summary judgment dismissing these claims is granted.

       However, the Plaintiffs argue that DB is not entitled to

summary judgment dismissing Trust-level repurchase claims for

any Trust that had additional warrantors that did not go

bankrupt. In its reply brief and at oral argument, DB conceded

that it is not seeking summary judgment on those claims on this

basis. See Reply at 20-21; PL ECF No. 407 at 22-23. Accordingly,

summary judgment dismissing those claims is denied.

                         2. Certain Repurchase Claims

       DB moves for summary judgment dismissing any claim that

DBNTC breached its duty as trustee by not pursuing repurchase

demands after the fourth anniversary of a Trust’s closing date,

arguing that pursuit of such claims would have been futile

because they were time-barred under N.Y. C.P.L.R. § 202 and

California’s statute of limitations.

       The parties agree that DBNTC is a resident of California.

DB argues, and the Plaintiffs appear to concede, that any claims

that DB may have had against the sponsors or originators for

breaches of R&Ws regarding the underlying mortgages arose at the

closing of the RMBS transactions. See, e.g., ACE Sec. Corp. v.

DB Structured Prod., Inc., 36 N.E.3d 623, 631 (N.Y. 2015). 32


32Any argument that the cure or repurchase obligation was a substantive
condition precedent to suit that delayed accrual of any causes of action
fails under ACE Sec. Corp. As in Ace Sec. Corp., the causes of action in this


                                      76
   Case 1:14-cv-10103-JGK-DCF Document 435 Filed 02/08/22 Page 77 of 114



      However, the parties dispute where these claims accrued for

statute of limitations purposes. Under N.Y. C.P.L.R. § 202,

claims accrue “at the time and in the place of the injury.”

Deutsche Bank Nat’l Tr. Co. v. Barclays Bank PLC (“Barclays”),

140 N.E.3d 511, 517 (N.Y. 2019). DB argues that any causes of

action accrued to DBNTC in California; the Plaintiffs argue that

most of the claims accrued in New York.

      During the pendency of this action, the New York Court of

Appeals considered whether DBNTC could bring claims against

warrantors for breaches of R&Ws more than four years after the

closing of an RMBS transaction. Id. at 518. The New York Court

of Appeals determined that where a trustee seeks to bring claims

in its capacity as trustee against a warrantor, it is the

trustee’s residence that controls for statute of limitations




case accrued as the result of breaches of the R&Ws by the originator or
sponsor. Substitution or repurchase were among the remedies available to
DBNTC and were not conditions precedent to a claim accruing. DBNTC “suffered
a legal wrong at the moment [the sponsors and originators] allegedly breached
the representations and warranties,” id. at 630, and thus any claims
available to DBNTC for breaches of R&Ws arose at the time of the closing of
the transactions, rather than when the relevant warrantor declined to cure
the defect.



                                     77
     Case 1:14-cv-10103-JGK-DCF Document 435 Filed 02/08/22 Page 78 of 114



purposes. Id. at 518-19. 33 Accordingly, the court of appeals

concluded that under N.Y. C.P.L.R. § 202, claims for R&W

breaches brought by DBNTC, as RMBS trustee, against warrantors

must be timely under California’s 4-year statute of limitations.

Id.

       The Plaintiffs argue that the claims accrued in the

location of the depositors, not DBNTC, in part because R&Ws were

made to the depositors, not to DBNTC. But under the GAs for most

of the relevant trusts, R&Ws were in fact made directly to the

trust or trustee. Goff Reply Ex. 15; PL-RSUF-2 ¶ 1124; CB-RSUF-2

¶ 1450. Regardless, the Plaintiffs have identified no legal

authority in support of their position, which appears to be

foreclosed by Barclays because there is no dispute that DBNTC

had the authority to enforce any alleged R&W breaches. Barclays,

140 N.E.3d at 519 (“As trustee, plaintiff is authorized to

enforce, on behalf of the certificateholders, the

representations and warranties in the relevant agreements.

Accordingly, it is appropriate for us to look to plaintiff’s



33Barclays does not disturb the Court’s finding above that claims arising
from the Phoenix Light Certificates accrued in Germany. The court of appeals
explained that it was not “foreclos[ing] the possibility that an economic
loss may be sustained in a place other than where the plaintiffs reside,” and
that “courts may, in appropriate cases, conclude that an economic loss was
sustained in a place other than were the plaintiff resides.” Id. at 517-18.
For the reasons explained above, including because the record with respect to
the Phoenix Light Certificates provides a “workable basis” to conclude that
those claims accrued in Germany, see id. at 518, the questions of where
DBNTC’s claims and Phoenix Light’s claims accrued are distinct inquires that
turn on different facts and compel different results.



                                      78
  Case 1:14-cv-10103-JGK-DCF Document 435 Filed 02/08/22 Page 79 of 114



residence as the place where the economic injury was sustained

and, consequently, where plaintiff’s causes of action accrued

for purposes of CPLR 202.”).

     The Plaintiffs also assert that DB failed to identify which

loans had repurchase demands more than four years after the

close of a Trust, but DB appears to have provided such

information. See Goff Reply Exs. 25-26. The Plaintiffs further

argue that questions of fact exist regarding whether DB could

have pursued claims after the statute of limitations period or

entered into a tolling agreement. However, the Plaintiffs do not

point to any evidence or legal authority to support the

contention that DBNTC was under an obligation to negotiate a

tolling agreement. The Plaintiffs have also failed to provide

any basis to conclude that DBNTC’s failure to pursue repurchase

demands received after California’s four-year statute of

limitations would be a breach of DBNTC’s duties.

     Accordingly, DB is entitled to summary judgment dismissing

any claims that DBNTC breached its duties by not pursuing

repurchase claims after the fourth anniversary of a Trust’s

closing date.

                        3. Settlement Agreements

  DB argues that it is entitled to summary judgment dismissing

the Plaintiffs’ claims relating to DB’s alleged failure to

pursue claims in connection with loans originated by Fremont and


                                   79
  Case 1:14-cv-10103-JGK-DCF Document 435 Filed 02/08/22 Page 80 of 114



sold to certain Trusts because such claims were released by DB

through settlement agreements. Specifically, DB seeks summary

judgment dismissing Commerzbank’s claims for failure to pursue

claims relating to three Trusts and the Phoenix Light Plaintiffs

claims for failure to pursue claims relating to five Trusts. See

Biron PL-Exs. 64, 77; Biron CB-Ex. 64.

     On July 17, 2018, Fremont and DB entered into a settlement

agreement regarding certain loans, pursuant to which DB released

Freemont, “on behalf of itself [and] on behalf of each Settling

Trust,” “from all Seller Breach Claims, including without

limitation any Repurchase Claims.” Biron CB-Ex. 65 § 3(a). Also

on July 17, 2018, DB entered into a settlement agreement that

released claims relating to loans in two Phoenix Light Trusts.

Biron PL-Exs. 64-65. Both of these settlement agreements were

approved by investors holding more than two-thirds of the voting

rights in these Trusts, and under the GAs for the Trusts, DB

cannot be held liable for actions taken in good faith at the

direction of investors holding 25% or more of the voting rights.

CB-RSUF ¶ 72; PL-RSUF ¶ 84.

     The Phoenix Light Plaintiffs assert claims related to three

other Trusts with Freemont loans. As to these three Trusts, a

bankruptcy court approved and ordered stipulations pursuant to

which DB settled and released “any and all past, present or

future” repurchase claims, “whether asserted or unasserted.” PL-


                                   80
  Case 1:14-cv-10103-JGK-DCF Document 435 Filed 02/08/22 Page 81 of 114



RSUF ¶ 85. The stipulation appears to preserve the ability for

DB to pursue limited claims, but only if it is properly

instructed to do so by a requisite number of certicateholders.

Id.

      The Plaintiffs argue that summary judgment dismissing

repurchase claims relating to Fremont is not warranted for

certain Trusts because the terms of the settlement agreements

did not encompass all repurchase claims against Fremont. The

Plaintiffs rely on Cahill v. Regan, in which the New York Court

of Appeals noted that “[a]lthough the effect of a general

release, in the absence of fraud or mutual mistake, cannot be

limited or curtailed, . . . a release may not be read to cover

matters which the parties did not desire or intend to dispose

of.” 157 N.E.2d 505, 509-10 (N.Y. 1959). But the Plaintiffs’

argument fails because the language in the releases is

unambiguous, broad, and clearly encompasses the Plaintiffs’

claims. See, e.g., Biron PL-Ex. 67 at 50 (DB releases “any

Repurchase Claims, against any Seller Party”); id. at 49

(“‘Repurchase Claims’ shall mean any and all past, present or

future claims, whether asserted or unasserted, by any Trust




                                   81
     Case 1:14-cv-10103-JGK-DCF Document 435 Filed 02/08/22 Page 82 of 114



against Seller seeking the repurchase of any Mortgage Loan on

the basis of any Seller Breach Claim.”). 34

     The Plaintiffs next argue that genuine issues of material fact

exist regarding whether the settlement agreements and the

agreement approved by the bankruptcy court are void as the

products of fraud, bad faith, or involving material

misstatements. The Plaintiffs’ arguments are not supported by

any allegation in their complaints and were raised for the first

time in their opposition brief. Regardless, DB’s notices to the

certificateholders explaining the Fremont settlement are clear,

attached the settlement agreements, and encouraged

certificateholders to review the agreement with advisors and to

vote. CB-RSUF-2 ¶¶ 1428-38; PL-RSUF-2 ¶¶ 1075-89. The

Plaintiffs, like other certificateholders, had the opportunity

to vote on the settlements or present their arguments to the

bankruptcy judge. 35 Moreover, the Plaintiffs have presented




34The Plaintiffs’ argument that the settlements did not address document
defect claims also fails in view of the similarly broad language of the
releases. See PL-RSUF-2 ¶ 1070; CB-RSUF-2 ¶ 1425.
35Any argument that DB lacked the authority to negotiate and settle any
potential claims against Fremont is unpersuasive. As discussed above and
recognized by other courts interpreting similar provisions, the GAs for the
trusts at issue assign the rights, title, and interest in the mortgage loans,
which would include the authority to commence and settle litigation.
Moreover, the Plaintiffs’ suggestion that DB, as trustee, lacked the
authority to negotiate and settle potential claims on behalf of the trust’s
beneficiaries seems to be in significant tension with the Plaintiffs’ claims
that DB failed to do enough to pursue claims against other warrantors.



                                      82
  Case 1:14-cv-10103-JGK-DCF Document 435 Filed 02/08/22 Page 83 of 114



nothing more than conclusory speculation to support their

argument that any agreements were the product of fraud.

  Accordingly, DB is entitled to summary judgment dismissing the

Plaintiffs’ claims that DB failed to pursue claims against

Freemont for the eight Trusts listed in Biron PL-Exs. 64 and 77

and Biron CB-Ex. 64.

           D. Tort Claims and the Economic Loss Doctrine

     DB moves for summary judgment dismissing all the

Plaintiffs’ tort claims on the basis that such claims are

precluded by New York’s economic loss doctrine. Under the

economic loss doctrine, “a tort action for economic loss will

not lie where the parties’ relationship is governed by an

express contract.” Ambac Assurance Corp. v. U.S. Bank Nat’l

Ass’n, 328 F. Supp. 3d 141, 157–58 (S.D.N.Y. 2018). This Court

previously dismissed certain of the Phoenix Light Plaintiffs’

tort claims as “duplicative” of other contractual claims,

because the “claims [were] not distinct from the duties in the

[GAs].” PL MTD Order, 172 F. Supp. 3d at 718. However, the Court

found that tort claims based on conflicts of interest,

allegations that DB “breached its fiduciary duty after an Event

of Default and did not take due care in performing ministerial




                                   83
     Case 1:14-cv-10103-JGK-DCF Document 435 Filed 02/08/22 Page 84 of 114



acts” were not duplicative and thus were not appropriately

dismissed at the motion to dismiss stage. Id. 36

       The New York Court of Appeals instructs that courts should

evaluate whether tort claims arise out of a “legal duty

independent of contractual obligations [that] may be imposed by

law as an incident to the parties’ relationship,” as well as

“the nature of the injury, how the injury occurred and the harm

it caused.” Dormitory Auth. v. Samson Constr. Co., 94 N.E.3d

456, 460–61 (N.Y. 2018). Under the economic loss doctrine,

“where plaintiff is essentially seeking enforcement of the

bargain, the action should proceed under a contract theory.” Id.

In the intervening years since the PL MTD Order, courts in this

district, faced with claims by RMBS certificateholders against

trustees, have reached different conclusions regarding whether

the economic loss doctrine precludes the Plaintiffs’ tort

claims. See BlackRock Allocation Target Shares: Series S.

Portfolio v. Wells Fargo Bank, Nat’l Ass’n, 247 F. Supp. 3d 377,

399 (S.D.N.Y. 2017) (collecting cases). “Dispositive in each

case has been the nature of the plaintiff’s claims: Does [the]

plaintiff allege damages that flow from the violation of a

professional duty, or merely from the violation of the governing

agreements?” Id.



36Commerzbank also advances similar tort claims, but those claims were not
addressed in the CB MTD Order.


                                      84
  Case 1:14-cv-10103-JGK-DCF Document 435 Filed 02/08/22 Page 85 of 114



     With the benefit of factual discovery and further

developments from New York courts and courts in this district,

this Court agrees with those judges who have found the economic

loss doctrine to apply to claims against RMBS trustees,

including claims based on alleged failures to carry out

administrative tasks and to avoid conflicts of interest. Courts

in this district have been particularly skeptical of attempts to

label duties as “extracontractual” as a means to “avoid the

economic loss doctrine.” See Triaxx Prime CDO 2006-1, Ltd. v.

Bank of New York Mellon, No. 16-cv-1597, 2018 WL 1417850, at *6

(S.D.N.Y. Mar. 8, 2018) (“[P]laintiffs seem to contend that

merely labeling these claims ‘extra-contractual’ will somehow

transmogrify them into extracontractual claims. It does not.”);

see also Nat’l Credit Union Admin. Bd. v. Deutsche Bank Nat’l

Tr. Co., 410 F. Supp. 3d 662, 688-89 (S.D.N.Y. 2019) (dismissing

tort claims because “the consistent references to the PSAs

reveal how reliant [the plaintiff’s] tort claims are on the

contracts at issue”; explaining that the argument to the

contrary is “an inherently untenable position seemingly taken

purely to avoid the economic loss doctrine”); Nat’l Credit Union

Admin. Bd. v. U.S. Bank Nat’l Ass’n, 439 F. Supp. 3d 275, 283

(S.D.N.Y. 2020) (same).

     To be clear, the above-cited authorities do not stand for

the principle that every claim by an RMBS certificateholder


                                   85
  Case 1:14-cv-10103-JGK-DCF Document 435 Filed 02/08/22 Page 86 of 114



against a trustee always sounds in contract. In this case, the

Plaintiffs have pointed to a variety of alleged conflicts of

interest by DB that were inconsistent with DB’s role as a

trustee and were potentially detrimental to certificateholders.

The Plaintiffs suggest that DB had a duty to avoid conflicts of

interest and that its failure to avoid such “positional”

conflicts swayed DB’s decision to the Plaintiffs’ detriment. For

example, the Plaintiffs argue that DB was reluctant to highlight

conduct by RMBS sellers or servicers, because doing so might

highlight DB’s or its affiliates’ own failures.

     Nevertheless, the Plaintiffs’ arguments are largely

speculative and without merit. The injury and damages allegedly

arising from DB’s conflicts of interest are DB’s alleged failure

to uphold duties that DB was allegedly already required to

perform under the GAs, such as failing to enforce repurchase

obligations for loans with R&W breaches and defective mortgage

files or failing to appropriately monitor servicers.

Accordingly, it is clear that the “injury” or “damages arising

from conflict of interest sound in defendants’ failure to take

contractual actions — that is, losses due to failures to take

action in response to servicer violations and to alert the

certificateholders to the servicers’ misconduct.” See Nat’l

Credit Union Admin. Bd., 439 F. Supp. 3d at 283–84.




                                   86
     Case 1:14-cv-10103-JGK-DCF Document 435 Filed 02/08/22 Page 87 of 114



       Accordingly, because the Plaintiffs’ claims for breach of

fiduciary duty, negligence, and gross negligence in this case

are precluded by the economic loss doctrine, DB is entitled to

summary judgment dismissing those claims.

                                      IV.

     Finally, DB argues that it is entitled to summary judgment on

the merits of the Plaintiffs’ claims because there is no

evidence in the record that DB breached its duties. DB moves for

summary judgment dismissing claims that it failed to act in

accordance with its statutory and contractual obligations both

before and after declared and alleged EODs. 37

                               A. Pre-EOD Claims

     The Plaintiffs assert claims based on DB’s alleged failure to

carry out certain duties prior to the occurrence of an ongoing

EOD. In particular, the Plaintiffs argue that DB breached its

because DB failed to (1) investigate whether loans in the Trust

breached R&Ws; (2) notify other transaction parties of R&W

breaches; and (3) enforce repurchase obligations. The parties

generally refer to such claims as “pre-EOD” claims. The




37For the avoidance of doubt, many of the claims discussed below were already
dismissed on other grounds, including grounds relating to standing and
timeliness. Nonetheless, the Court considers the merits-based arguments below
for these claims and finds that certain of them should be dismissed for the
alternative, additional reason that they lack substantive merit.


                                      87
     Case 1:14-cv-10103-JGK-DCF Document 435 Filed 02/08/22 Page 88 of 114



Plaintiffs advance pre-EOD claims for 59 out of the 85 Trusts at

issue. 38

              1. Claims Related to Document Delivery Failures

       As an initial matter, the parties dispute the scope of the

PL MTD Order and whether and to what extent certain of the

Phoenix Light Plaintiffs’ pre-EOD claims have already been

dismissed. In its motion to dismiss, DB argued that all of the

Phoenix Light Plaintiffs’ claims concerning incomplete mortgage

files, including claims arising from DB’s failure to repurchase

loans with defective documentation, should be dismissed as time-

barred. PL ECF No. 36 at 15-16. The Phoenix Light Plaintiffs

conceded that they were not pursuing claims related to any “pre-

[EOD] failure to adhere to [DB’s] document delivery and

certification obligations.” PL ECF No. 40 at 12-13; PL MTD

Order, 172 F. Supp. 3d at 708-09 (the parties agreed that “any

claims arising from the faulty deposit of the initial

documentation of the loans would be time barred”).

       The Phoenix Light Plaintiffs now argue that the PL MTD

Order did not dismiss its pre-EOD claims based on DB’s alleged

failure to enforce repurchase obligations for loans identified

in the exception reports of 14 Trusts. See Goff Reply Ex. 12.




38To the extent that the Plaintiffs previously asserted pre-EOD claims as to
the remaining 26 Trusts, those claims are dismissed because the Plaintiffs
abandoned them. See Opp’n at 39.



                                      88
  Case 1:14-cv-10103-JGK-DCF Document 435 Filed 02/08/22 Page 89 of 114



But the Plaintiffs’ argument misconstrues the PL MTD Order. The

PL MTD Order explained that “[c]laims for document delivery

failures are barred by the statute of limitations,” referring to

and citing allegations in the PL SAC that explicitly discussed

claims directed to repurchase obligations relating to document

delivery issues. PL MTD Order, 172 F. Supp. 3d at 709 (citing PL

SAC ¶¶ 121-22, 164-65); see also id. (“Any claims arising from

facts prior to December 23, 2008, the longest statute of

limitations applicable to any of the claims, would be time

barred.”).

     Accordingly, all pre-EOD claims for the 14 Trusts listed in

Goff Reply Ex. 12 are without merit. Because the Plaintiffs

abandoned pre-EOD claims for 26 Trusts and the Court dismissed

pre-EOD claims for another 14 Trusts on the merits, the Court

now addresses merits-based arguments concerning pre-EOD claims

relating to the remaining 45 Trusts.

                    2. Pre-EOD Duty to Investigate

     DB first argues that it is entitled to summary judgment

dismissing the Plaintiffs’ claims that DB breached a pre-EOD

contractual duty to investigate whether loans breached R&Ws. DB

contends that under the GAs, it had no duty to investigate

absent direction from investors holding more than 25% of the

voting rights in the Trust at issue. The Plaintiffs concede that

their pre-EOD claims “overwhelmingly concern DB’s breaches of


                                   89
  Case 1:14-cv-10103-JGK-DCF Document 435 Filed 02/08/22 Page 90 of 114



express enforcement obligations where DB discovered or had

actual knowledge of R&W breaches and document defects, as

opposed to DB’s failure to ‘investigate.’” Opp’n at 40. Still,

the Plaintiffs argue that DB had a duty to investigate whether

loans breached R&Ws regardless of whether it had investor

direction and indemnification based on the information that DB

had regarding widespread R&W breaches, poor loan performance,

and industry-wide misconduct.

     The parties’ dispute regarding DB’s duties centers on two

clauses that the parties agree are found in substantively

identical forms in nearly all of the GAs. Section 8.01 of an

exemplary GA provides:

     No provision of this Agreement shall be construed to
     relieve the Trustee from liability for . . . its own
     negligent failure to act or its own willful misconduct.
     Unless an Event of Default known to the Trustee has
     occurred and is continuing: (a) the duties and
     obligations of the Trustee shall be determined solely by
     the express provisions of this Agreement, the Trustee
     shall not be liable except for performance of the duties
     and obligations specifically set forth in the Agreement,
     no implied covenants or obligations shall be read into
     this Agreement against the Trustee; (b) the Trustee
     shall not be liable for an error of judgment made in
     good faith . . . unless it is finally proven that the
     Trustee was negligent in ascertaining the pertinent
     facts . . . .

Biron PL-Ex. 2 § 8.01. Section 8.02 of the same GA provides:

     Except as otherwise provided in Section 8.01: . . . the
     Trustee shall not be bound to make any investigation .
     . . unless requested in writing to do so by the Holders
     of Certificates evidencing not less than 25% of the
     Voting Rights.”


                                   90
  Case 1:14-cv-10103-JGK-DCF Document 435 Filed 02/08/22 Page 91 of 114




Id. § 8.02.

     The Plaintiffs read these provisions to mean that, prior to

an EOD, DB cannot be compelled (“bound”) by a certificateholder

without control of 25% of the requisite voting rights, and that

DB is liable for its “negligent failures to act” unless it

demonstrates it was not “negligent in ascertaining the facts”

and made any judgment of error in good faith. By contrast, DB

argues that these provisions make clear that DB only has the

“duties and obligations set forth in this Agreement,” which do

not include any freestanding duty to investigate absent

direction from investors controlling greater than 25% of voting

rights. DB further contends that the specificity of “no duty to

investigate” controls over the general references to “negligent”

actions in the provisions of Section 8.01.

     It is clear that under Sections 8.01 and 8.02, DB has no

freestanding obligations to investigate absent instructions from

investors with control of 25% of the required voting rights —

until DB “know[s]” of an EOD. Therefore, to the extent that the

Plaintiffs truly sought to claim that DB has a freestanding duty

to actively investigate loans absent any evidence, knowledge, or

notice, that argument fails. But this does not foreclose the

possibility that DB had and breached a duty to investigate




                                   91
  Case 1:14-cv-10103-JGK-DCF Document 435 Filed 02/08/22 Page 92 of 114



either because it “knew” of an EOD or, as discussed below,

“discover[ed]” loan-level R&W breaches.

     As Judge Failla has explained, when a trustee’s duties are

triggered by its “discovery” or “knowledge” of a breach, just

“because [a defendant trustee] cannot be required to investigate

under the parties’ contracts” does not mean that a trustee can

“avoid liability by willfully blinding itself for the purpose of

disclaiming knowledge.” BlackRock Allocation Target Shares:

Series S Portfolio v. Wells Fargo Bank, Nat’l Ass’n, No. 14-cv-

10067, 2017 WL 3610511, at *9 (S.D.N.Y. Aug. 21, 2017). While DB

does not have an ever-present obligation to “nose to the

source,” if DB “suspected a fact and realized its probability,

but refrained from confirming it in order [to] later deny

knowledge,” then something akin to duty to investigate arose.

Id. at *10.

     As discussed above and below, the Plaintiffs have developed

evidence of DB’s knowledge of specific loan-level R&W breaches

and of potential EODs. Whether and to what extent this knowledge

was so widespread and compelling that it apprised DB of

potential breaches relating to other loans or of EODs in other

Trusts, and whether DB chose to be willfully blind of and

refused to investigate those potential issues, cannot be

resolved on this record at the summary judgment stage.




                                   92
  Case 1:14-cv-10103-JGK-DCF Document 435 Filed 02/08/22 Page 93 of 114



Accordingly, summary judgment dismissing these claims on this

basis is denied.

                     3. Pre-EOD Notice Obligations

  DB seeks summary judgment dismissing the Plaintiffs’

contractual and, for the indenture trusts, TIA Section 315(b)

claims that DB breached pre-EOD duties to provide notice of

loan-level R&W breaches to other enumerated parties.

  It is undisputed that for the Trusts listed on Biron CB-Ex. 54

and Biron PL-Ex. 54, DB had a duty to provide notice of loan-

specific R&W breaches to contractually specified parties only

upon DB’s “discovery” of any such breach (the “Discovery-Only

Trusts”). It is further undisputed that for the trusts on Biron

CB-Ex. 55 and Biron PL-Ex. 55, DB had a duty to provide notice

of a loan-specific R&W breaches to contractually specified

parties upon either “discovery” or “receipt of written notice”

of any such breach (the “Discovery/Notice Trusts”). However, the

parties dispute the meaning of “discovery” and “receipt of

written notice” as used in the GAs and whether DB obtained the

level of knowledge required to trigger its notice obligations.

The parties further dispute whether, if DB’s duties to provide

notice to other parties were triggered, DB satisfied those

duties.

     At the summary judgment stage, a Plaintiff advancing claims

arising from alleged pre-EOD breaches of notice and repurchase


                                   93
     Case 1:14-cv-10103-JGK-DCF Document 435 Filed 02/08/22 Page 94 of 114



obligations must come forward with “loan- or Trust-specific

proof relative to [the trustees] knowledge of any breach.” See

Phoenix Light SF Ltd. v. Bank of New York Mellon, No. 14-cv-

10104, 2017 WL 3973951, at *8 (S.D.N.Y. Sept. 7, 2017)

(collecting cases). There is undisputed evidence in the record

that DB received letters from third parties alleging that loans

in the majority of Discovery-Only and Discovery/Notice Trusts

breached R&W’s. 39 See, e.g., Lucht Ex. 131 (“This letter serves

as written notification of the underlying causes of the mortgage

insurance rescissions which are direct breaches of the

representations and warranties made by the Seller . . . .”). The

Plaintiffs argue that by receiving these letters, DB

“discover[ed]” and was put on “written notice” of loan-level R&W

breaches within the meaning of the GAs. DB counters that these

letters constituted mere allegations of R&W breaches that did

not give DB “actual knowledge” of any breaches, which DB argues

is required under the GAs to trigger its notice obligations.

       DB’s arguments are without merit. Regardless of whether

“discovery” in the GAs is interpreted as requiring “actual

knowledge” or some lower standard, a reasonable jury could

conclude that the letters that DB received afforded DB the




39The Plaintiffs concede that DB did not receive any notice for loans in the
following Trusts: IMM 2005-7, IMM 2005-8, ECR 2005-3, GSAMP 2005-HE4, and
WAMU 2005-AR13. PL-RSUF ¶¶ 93-94; CB-RSUF ¶¶ 80-81.



                                      94
     Case 1:14-cv-10103-JGK-DCF Document 435 Filed 02/08/22 Page 95 of 114



requisite knowledge under the GAs to trigger its duties. 40 See

Royal Park Invs. SA/NV v. Deutsche Bank Nat’l Tr. Co., No. 14-

cv-4394, 2016 WL 439020, at *4 (S.D.N.Y. Feb. 3, 2016) (the

trustee’s “obligation to enforce breaches of R&Ws upon receipt

of ‘notice’ may be triggered both when it receives notice of a

breach from another party and when it independently discovers

such a breach”).

       Nonetheless, DB argues that even if its notice duties were

triggered by these letters, it is entitled to summary judgment

dismissing these claims because it complied with any notice

obligations. See CB-RSUF ¶ 81; PL-RSUF ¶ 94. The GAs generally

provide that once DB discovers or receives written notice of a

loan-level R&W breach, DB must “notify [other parties] of such

. . . breach.” See Fitzgerald Ex. 10; Kane Ex. 363. It is

undisputed that when DB received letters alleging R&W breaches,

it forwarded copies of those letter to the relevant contractual

parties, along with a form cover letter known as a “First

Letter.” Reyes PL Decl. ¶¶ 18-19; Reyes CB Decl. ¶¶ 18-19. If DB

did not receive a response to the First Letter within a certain

time period, DB sent out another form cover letter known as a

“Second Letter,” which again attached the alleged R&W breach



40Because the letters create a genuine dispute of material fact as to whether
DB had “actual knowledge” of loan-level R&W breaches, the Court need not
resolve at this stage whether “discovery” under the GAs is limited to actual
knowledge or some lower level of knowledge, such as inquiry notice.



                                      95
  Case 1:14-cv-10103-JGK-DCF Document 435 Filed 02/08/22 Page 96 of 114



notice. Id. ¶ 20; see also id. at Exs. D, E (exemplary First and

Second Letters); Lucht Ex. 131.

     The Plaintiffs argue that the First and Second Letters did

not satisfy DB’s notice obligations under the GAs. The

Plaintiffs quibble with the wording employed in certain First

and Second Letters, arguing that the language was not direct or

specific enough to apprise recipients of potential R&W breaches.

However, it is undisputed that each First and Second Letter was

sent along with the alleged R&W breach letters that DB received.

The Plaintiffs cannot have it both ways: if the alleged R&W

breach letters were sufficient to have put DB on notice of R&W

breaches, then DB forwarding these letters along to the relevant

contractual parties must have satisfied its notice obligations

under the GAs.

     Accordingly, the Plaintiffs’ pre-EOD notice claims for

these Trusts are without merit and are dismissed on this basis.

                    4. Pre-EOD Repurchase Obligations

     DB argues that it is entitled to summary judgment on the

Plaintiffs’ claims that it breached pre-EOD duties to enforce

repurchase obligations. DB advances different arguments as to

different Trusts.

     First, DB argues that pre-EOD repurchase claims for the

Trusts on PL Reyes-Ex. G and CB Reyes-Ex. G should be dismissed

because there is no evidence that DB discovered or received any


                                   96
     Case 1:14-cv-10103-JGK-DCF Document 435 Filed 02/08/22 Page 97 of 114



written notice alleging any R&W breach in those trusts. The

Plaintiffs do not contest that for eight Phoenix Light trusts

and three Commerzbank trusts, there is no evidence that DB

discovered or received notice of any alleged R&W breach. Goff

Reply Ex. 13; see also PL RSUF-2 ¶ 1433; CB RSUF-2 ¶ 1756.

Because there is no dispute that DB’s repurchase obligations are

triggered only when DB discovers or receives written notice of

R&W breaches, DB is entitled to summary judgment dismissing the

pre-EOD enforcement claims for these Trusts.

       For one Trust on PL Reyes-Ex. G, the Plaintiffs point to a

loan-specific notice that DB received. However, it is undisputed

that the relevant notice was rescinded. PL-RSUF-2 ¶ 597. 41

Accordingly, summary judgment dismissing pre-EOD repurchase

claims for this Trust is granted.

       As to the remaining Trusts on PL Reyes-Ex. G and CB Reyes-

Ex. G, the Plaintiffs argue that DB breached its duty to enforce

repurchase of loans with defective mortgage files. See Goff

Reply Ex. 12. But any such claims are time-barred for the

reasons discussed in the PL MTD Order and restated above. DB is

therefore entitled to summary judgment dismissing pre-EOD

repurchase claims for these trusts.


41See Goff Reply Ex. 19 (“Our repurchase claims at the time were based upon,
what were believed to be breaches of various representation and warranties
made by the Responsible Party to the various trusts who own the Mortgage
Loans. Upon further review of the repurchase claims, it has been determined
that our repurchase claims against the Responsible Party are not valid.”).



                                      97
  Case 1:14-cv-10103-JGK-DCF Document 435 Filed 02/08/22 Page 98 of 114



     Second, DB argues that it could not have breached any pre-

EOD enforcement duties for the Trusts on Biron PL-Ex. 56 and

Biron CB-Ex. 56 because DB had no such duties under those GAs.

It is undisputed that these GAs lack any provision expressly

stating that DB has repurchase duties. Instead, the Plaintiffs

rely on clauses in the GAs that generally provide as follows:

     Section 2.04 Execution and Delivery of Certificates. The
     Trustee acknowledges the transfer and assignment to it
     of the Trust Fund and, concurrently with such transfer
     and assignment, has executed and delivered to or upon
     the order of the Depositor, the Certificates in
     authorized   Denominations    evidencing   directly   or
     indirectly the entire ownership of the Trust Fund. The
     Trustee agrees to hold the Trust Fund and exercise the
     rights referred to above for the benefit of all present
     and future Holders of the Certificates.

Handlin Ex. 23; see also CB-RSUF ¶ 83; PL-RSUF ¶ 96.

     According to the Plaintiffs, because these GAs afford DB

the “right” to enforce repurchase obligations in provisions

“above” these clauses, this language creates an affirmative duty

to enforce repurchase obligations in certain circumstances.

     Courts confronted with the question of whether

substantially similar clauses create an affirmative duty to

enforce repurchase obligations have come to different

conclusions. Compare, e.g., Commerzbank AG v. U.S. Bank Nat’l

Ass’n, 457 F. Supp. 3d 233, 258 (S.D.N.Y. 2020) (concluding that

a similar provision “does not require [the trustee] to enforce

the obligations of other deal parties to repurchase loans”), and



                                   98
     Case 1:14-cv-10103-JGK-DCF Document 435 Filed 02/08/22 Page 99 of 114



W. & S. Life Ins. Co. v. Bank of N.Y. Mellon, 129 N.E.3d 1085,

1093–94 (Ct. App. Ohio 2019) (applying New York law; finding

that similar language “does not clearly set out the detail

required to impose a duty on [the trustee]. If the trustee’s

duties included the obligation to require [the originator] to

substitute or repurchase mortgage loans, those duties would have

had to have been specifically set forth in the PSA.”), with W. &

S. Life Ins. Co. v. U.S. Bank N.A., No. 650259/2019, 2020 WL

6534496, at *4 (N.Y. Sup. Ct. Nov. 5, 2020) (finding that the

trustee, in agreeing to “exercise the rights referred to above

. . . assumed an affirmative duty to enforce the repurchase

obligation”), and Royal Park, 2016 WL 439020, at *4 (same). 42

       Reading each GA as a whole in view of well-established law

recognizing the limited nature of the duties of an indenture

trustee, DB’s interpretation prevails. The duties and

obligations of an indenture trustee “are exclusively defined by

the terms of the indenture agreement.” Meckel v. Cont’l Res.

Co., 758 F.2d 811, 816 (2d Cir. 1985); CFIP Master Fund, Ltd. v.

Citibank, N.A., 738 F. Supp. 2d 450, 472 (S.D.N.Y. 2010).


42The Plaintiffs’ argument that DB is collaterally estopped on this issue by
Royal Park is without merit. Royal Park was an order denying a motion to
dismiss, which is not a “valid and final judgment on the merits.” See Wills
v. RadioShack Corp., 981 F. Supp. 2d 245, 265 (S.D.N.Y. 2013); see also Flood
v. Just Energy Marketing Corp., 904 F.3d 219, 236-37 (2d Cir. 2018).
Moreover, the GAs and precise contract language at issue in Royal Park are
not identical to the GAs and language at issue in this case. Accordingly, DB
is not precluded from arguing in this case for its favored interpretation of
these clauses.



                                      99
  Case 1:14-cv-10103-JGK-DCF Document 435 Filed 02/08/22 Page 100 of 114



Moreover, each GA in substance provides that before an EOD, the

“duties and obligations of” DB “shall be determined solely by

the express provisions of this Agreement, and [DB] shall not be

liable except for the performance and obligations specifically

set forth in this agreement.” Biron PL-Ex. 35 (emphasis added);

Biron CB-Ex. 35. Each GA further provides in substance that “no

implied covenants or obligations shall be read into this

agreement against” DB. Id.

     This clear and specific language, read in view of the law

governing the duties of an indenture trustee, demonstrates that

it would be improper to interpret the vague, general language of

the “rights referred to above” clauses to create an implied

repurchase duty in direct contravention of the GAs’ other

provisions. See Commerzbank AG, 457 F. Supp 3d at 258 (“The PSAs

are complicated and intricate agreements that impose numerous

obligations. Engrafting a generalized good faith obligation that

creates additional undefined duties is a bridge too far.”);

CFIP, 738 F. Supp. 2d at 471-75 (contract language requiring the

trustee to “discharge its responsibilities ‘for the benefit of

the holders of the Certificates,’” does not create obligations

beyond “the narrowly circumscribed responsibilities identified

in the trust agreement”). The “rights referred to above”

language is properly understood to “delineate that the trustee

holds the trust fund for the benefit of the investor rather than


                                   100
  Case 1:14-cv-10103-JGK-DCF Document 435 Filed 02/08/22 Page 101 of 114



for the trustee’s own benefit or the benefit of any other party

to the PSA,” rather than to generate any implied duties. W. & S.

Life Ins., 129 N.E.3d at 1094 (citing LNC Inv., Inc. v. First

Fid. Bank, Nat. Ass’n, 935 F. Supp. 1333, 1347 (S.D.N.Y. 1996));

see also Restatement (Third) of Trusts § 2 (“[A] trust involves

three elements: (1) a trustee, who holds the trust property and

is subject to duties to deal with it for the benefit of one or

more others . . . .”).

     Because DB was not under any contractual duty to enforce

repurchase obligations for the Trusts in Biron PL-Ex. 56 and

Biron CB-Ex. 56, all pre-EOD repurchase claims related to those

Trusts are without merit and dismissed on this basis.

     Third, DB moves for summary judgment dismissing pre-EOD

enforcement claims for the Trusts listed in Biron PL-Ex. 57 and

Biron CB-Ex. 57. DB argues that for these Trusts, the relevant

GAs provide that DB had a duty to enforce loan repurchases only

if directed to do so by the depositor of the Trusts, and that

there is no evidence that these conditions were ever satisfied.

In support of its argument, DB relies on declarations from

Ronaldo Reyes, Vice President in Trust Administration at DBNTC.

Mr. Reyes declared that DB’s internal documents do not reflect

“that [DB] received any communication demonstrating that the

conditions necessary for enforcement existed.” Reyes PL Decl. ¶

29; Reyes CB Decl. ¶ 29.


                                   101
  Case 1:14-cv-10103-JGK-DCF Document 435 Filed 02/08/22 Page 102 of 114



     The Plaintiffs do not dispute that there is no evidence in

the record that these conditions were ever satisfied. Instead,

the Plaintiffs argue that DB failed to come forward with

evidence that it gave the depositors notice of the R&W breaches

that it discovered. The Plaintiffs invoke the prevention

doctrine, contending that DB’s alleged failure to provide the

depositors notice renders DB’s repurchase duties enforceable

despite the fact that DB did not receive direction from the

depositors. See, e.g., Royal Park, 2016 WL 439020, at *5 (under

the prevention doctrine, “a party may not insist upon

performance of a condition precedent when its nonperformance has

been caused by the party itself”).

     The Plaintiffs’ invocation of the prevention doctrine

fails. Under New York law, the Plaintiffs bear the burden of

proving that DB caused the depositors’ failure to direct it to

enforce repurchase obligations by not notifying the depositors

of R&W breaches. See, e.g., Lindenbaum v. Royco Prop. Corp., 567

N.Y.S.2d 218, 221 (App. Div. 1991); WorldCo Petroleum NY Corp.

v. Keshtgar, No. 011390/08, 2011 WL 5840078, at *4-5 (N.Y. Sup.

Ct. Oct. 31, 2011). The Plaintiffs point to no evidence that DB

failed to notify depositors of R&W breaches. Indeed, as

discussed above, the uncontroverted evidence establishes that

after receipt of a breach notice, DB sent First Letter notices

to “the parties identified in the respective” GAs. Reyes PL


                                   102
     Case 1:14-cv-10103-JGK-DCF Document 435 Filed 02/08/22 Page 103 of 114



Decl. ¶¶ 18-19; Reyes CB Decl. ¶¶ 18-19. In any event, “a

defendant’s failure to send a notice to cure to the servicers is

not ‘active conduct’ within the meaning of the prevention

doctrine.” BlackRock Balanced Capital Portfolio (FI) v. U.S.

Bank Nat’l Ass’n, 86 N.Y.S.3d 484, 486 (App. Div. 2018); Nat’l

Credit Union Admin. Bd. v. Deutsche Bank Nat’l Tr. Co., 410 F.

Supp. 3d 662, 685 (S.D.N.Y. 2019). Accordingly, DB is entitled

to summary judgment dismissing pre-EOD enforcement claims on

this basis for the Trusts on Biron PL-Ex. 57 and Biron CB-Ex.

57. 43

         Fourth, DB moves for summary judgment on pre-EOD repurchase

claims relating to the loans on Reyes PL-Ex. U and Reyes CB-Ex.

U on the basis that those loans paid off without a loss.

However, the Plaintiffs point to evidence that raises a genuine

dispute of fact as to whether these loans were in fact paid off

without a loss. See, e.g., Beckles Decl. Table 2; CB-RSUF ¶ 86;

PL-RSUF ¶ 99. Accordingly, summary judgment dismissing the




43The Plaintiffs’ reliance on Royal Park fails. As noted above, Royal Park
was a decision on a motion to dismiss. In denying DBNTC’s motion to dismiss
certain pre-EOD enforcement claims, Judge Nathan accepted the plaintiff’s
allegation that DBNTC did not provide the depositor with notice of discovered
breaches as true. Royal Park, 2016 WL 439020, at *5 (“Assuming that the
Defendant did not provide the Depositor with notice of discovered breaches,
the Depositor was unable to direct the Defendant to pursue any remedies.”)
(emphasis added). Royal Park is inapposite here, where on a motion for
summary judgment, the Plaintiffs have failed to satisfy their burden of
showing that DB failed to provide depositors with the relevant notices.



                                      103
  Case 1:14-cv-10103-JGK-DCF Document 435 Filed 02/08/22 Page 104 of 114



Plaintiffs’ repurchase claims on this basis for these loans (and

their associated Trusts) is denied.

     Fifth, DB moves for summary judgement dismissing pre-EOD

repurchase claims relating to the loans on Reyes PL-Ex. N and

Reyes CB-Ex. N on the basis that DB did in fact commence

repurchase lawsuits against the warrantors after receiving

direction from investors. Relying on the complaints in those

lawsuits, the Plaintiffs argue that there is a genuine dispute

of material fact as to whether the loans on Reyes PL-Ex. N and

Reyes CB-Ex. N completely overlap with the loans at issue in

those lawsuits. Compare, e.g., Reyes CB-Ex. N (identifying 1,970

repurchase log rows for the HVMLT 2007-2 Certificate), with

Reyes CB-Ex. P ¶¶ 63-66 (repurchase action complaint regarding

the HVMLT 2007-2 Certificate; identifying only 85 loans). DB is

not entitled to summary judgment regarding loans that were not

actually subject to a repurchase action. Accordingly, summary

judgment dismissing pre-EOD repurchase claims on this basis is

granted to the extent that the relevant loans in Reyes PL-Ex. N

and Reyes CB-Ex. N were identified in repurchase action

complaints; summary judgment is denied on this basis to the

extent that they were not.

     Sixth, DB moves for summary judgment dismissing pre-EOD

repurchase claims relating to the loans on Reyes PL-Ex. T and

Reyes CB-Ex. T on the basis that DB was directed by


                                   104
  Case 1:14-cv-10103-JGK-DCF Document 435 Filed 02/08/22 Page 105 of 114



certificateholders to enter into tolling agreements with the

relevant warrantors. DB relies on the declaration of Mr. Reyes,

who declared in relevant part that “the Trusts where a tolling

agreement was executed are set forth in the Biron Declaration.”

Reyes CB Decl. ¶ 32; Reyes PL Decl. ¶ 32. Mr. Biron in turn

declared that he “understand[s] that Defendant entered into and

subsequently extended, an agreement with certain Warrantors

relating to the prosecution of” relevant repurchase claims.

Biron CB Decl. ¶ 154, Biron PL Decl. ¶ 186.

     However, as the Plaintiffs correctly note, the actual

tolling agreements relied on by DB are not in the record.

Without the actual agreements, there exist genuine questions of

material fact as to whether DB fully discharged its duties by

entering these agreements. For example, Mr. Biron’s statement

that DB entered into agreements with “certain Warrantors” leaves

open the possibility that the agreements omitted other

responsible parties under the GAs. Accordingly, summary judgment

dismissing repurchase claims for these Trusts on this basis is

denied.

     Seventh, DB moves for summary judgement dismissing the pre-

EOD repurchase claims relating to the loans on Reyes CB Ex. V,

arguing that by the time DB received notice of any breaches,

Commerzbank no longer owned any Certificates issued by the Trust

holding those loans. Commerzbank contends that DB’s argument is


                                   105
  Case 1:14-cv-10103-JGK-DCF Document 435 Filed 02/08/22 Page 106 of 114



not supported by the evidence that DB submitted in connection

with its motion for summary judgment, the repurchase log, which

did not contain row numbers. However, DB submitted a version of

the repurchase log with row numbers with its reply brief and

represented that it produced a native version of the repurchase

log with row numbers to Commerzbank during discovery. See Goff

Reply Ex. 26; CB-RSUF ¶ 91; see also Handlin Ex. 558. This

evidence demonstrates that Commerzbank sold the relevant

certificates before DB received notice of breaches in these

loans. Accordingly, summary judgment dismissing pre-EOD

repurchase claims relating to the loans on Reyes CB Ex. V is

granted on this basis.

       Finally, DB moves for summary judgment on any remaining

pre-EOD repurchase claims on the basis that DB did not have

actual knowledge of any R&W breaches. However, that argument

fails for the reasons explained above: a genuine dispute of

material fact exists as to whether DB had knowledge of R&W

breaches sufficient to trigger its repurchase obligations under

the GAs. See supra Sections IV.A.2-3. Accordingly, summary

judgment on the remaining pre-EOD repurchase claims on this

basis is denied. 44


44 DB’s fallback position — that all pre-EOD repurchase claims should be

dismissed because of its purported good faith belief that it acted in
accordance with the GAs — is without merit. “[W]hether a party to a contract
has acted in good faith generally presents a question of fact for a jury.”
Bank of N.Y. Mellon Tr. Co., Nat’l Ass’n v. Telos CLO 1006-1 Ltd., 274 F.


                                     106
  Case 1:14-cv-10103-JGK-DCF Document 435 Filed 02/08/22 Page 107 of 114



                              B. Post-EOD Claims

      DB argues that it is entitled to summary judgment

dismissing the Plaintiffs’ claims that DB breached its duties to

act as a “prudent person” following the Declared EODs and other

events that the Plaintiffs contend constituted EODs (“Alleged

EODs”).

                            1. Alleged EOD Claims

      The Plaintiffs claim that DB breached its contractual and,

for the indenture trusts, statutory duties relating to every

Trust by not declaring EODs that purportedly resulted from

alleged breaches by servicers or issuers and then not acting as

a prudent person. DB contends that it is entitled to summary

judgment on these claims, arguing that the Plaintiffs lack

admissible, loan- or Trust-specific evidence that DB had

“written notice” or “actual knowledge” of any such purported

EOD, which is necessary to trigger DB’s prudent person duties.

      The Plaintiffs set forth a number of theories as to why DB

should have declared EODs for various Trusts, including because

DB allegedly knew of (1) misconduct by servicers related to




Supp. 3d 191, 215 (S.D.N.Y. 2017). There is certainly evidence in the record
in support of DB’s argument. However, the Plaintiffs highlight other
evidence, including DB employee deposition testimony, that raises genuine
questions as to whether DB believed in good faith that it was not obligated
to take certain actions, or instead failed to act for some other reason,
including because it failed to properly investigate and appreciate the scope
of its obligations under the GAs. See Opp’n at 65-67 (collecting record
cites).



                                     107
  Case 1:14-cv-10103-JGK-DCF Document 435 Filed 02/08/22 Page 108 of 114



robo-signing; (2) misconduct by servicers related to real estate

owned (“REO”) properties and foreclosures in a number of

municipalities; (3) servicers’ non-compliance with various

aspects of Regulation AB (“Reg AB”); and (4) issuers’ failure

enforce loan repurchase obligations.

     The Plaintiffs, in turn, move for summary judgment that

these same events constituted EODs and that DB had sufficient

knowledge of them. It is plain from the parties’ Local Rule 56.1

statements and counterstatements, submitted in support of the

Plaintiffs’ and DB’s respective motions for summary judgment,

that issues relating to whether EODs occurred and whether DB

knew of them are riddled with genuine disputes of material fact.

The record is replete with conflicting evidence relating to

these issues, making it far from clear that either party is

entitled to summary judgment on these issues. See Commerzbank

AG, 457 F. Supp. 3d at 255-56 (denying summary judgment where

“material issues of fact abound as to whether EODs occurred”).

     Take, for example, the parties’ dispute as to whether DB

had sufficient knowledge of servicer robo-signing violations.

The Plaintiffs point to DB witness testimony and communications

between DB and servicers that the Plaintiffs contend demonstrate

DB’s knowledge of loan and Trust specific robo-signing

misconduct. See, e.g., PL-RSUF-2 ¶¶ 1303-57, CB-RSUF-2 ¶¶ 1618-

71. DB disputes the Plaintiffs’ characterization of the


                                   108
  Case 1:14-cv-10103-JGK-DCF Document 435 Filed 02/08/22 Page 109 of 114



communications between DB and the servicers and points to other

testimony that DB argues forecloses any inference that DB had

the requisite loan-level knowledge of any misconduct. Id.

Similar disputes over the proper interpretation of certain

pieces of evidence and which cherry-picked deposition excerpts

should prevail underpin each of the parties’ arguments as to

whether EODs did or did not occur and whether DB had sufficient

knowledge of those EODs.

     Accordingly, summary judgment dismissing the Alleged EOD

Claims on this basis is denied.

                        2. Prudent Person Duties

     DB moves for summary judgment that it satisfied its prudent

person duties following the Declared and Alleged EODs. As

discussed below, the Plaintiffs also move for summary judgment

that DB did breach its post-EOD prudent person duties.

     The Plaintiffs contend that DB breached its prudent person

duties because DB (1) did not educate its employees about DB’s

post-EOD prudent person duties; (2) took no deliberative action

in response to EODs; (3) sat on its hands after sending out EOD

notices; and (4) did nothing differently after EODs occurred.

See P-CSUF-Reply ¶¶ 546-49. DB argues that it satisfied any

prudent person duties by deciding not to commence expensive

investigations into EODs absent investor direction. Moreover, DB

argues that there is no evidence in the record that DB’s post-


                                   109
  Case 1:14-cv-10103-JGK-DCF Document 435 Filed 02/08/22 Page 110 of 114



EOD behavior failed to comply with any industry custom or

established standard of care.

     On this record, neither party is entitled to summary

judgment on these claims on this basis. A reasonable factfinder

could conclude that DB’s failure to take certain actions post-

EOD breached its prudent person duties. A reasonable factfinder

could also determine that further investigation and other

actions by DB following an EOD would have been imprudently

expensive and that the most sensible course of action would have

been to await further instructions from certificateholders

before expending additional resources. The Plaintiffs’ failure

to present evidence that other RMBS trustees took the steps that

they claim were mandated is informative, though not necessarily

dispositive. Although the scope of an RMBS trustee’s duties is

informed by industry standards, those duties are not entirely

governed by how other trustees act. Cf. Fed. Hous. Fin. Agency

v. Nomura Holding Am., Inc., 873 F.3d 85, 134 (2d Cir. 2017).

     Because there are genuine disputes of material fact as to

whether DB satisfied its post-EOD duties to act prudently,

summary judgment dismissing these claims on this basis is

denied.

                         3. Remaining EOD Claims

     DB moves for summary judgment dismissing two remaining

categories of post-EOD claims.


                                   110
  Case 1:14-cv-10103-JGK-DCF Document 435 Filed 02/08/22 Page 111 of 114



     First, DB argues that it is entitled to summary judgment

dismissing any claims that it breached post-EOD duties following

the 2012 and 2014 Downgrade EODs affecting one of the Sold

Certificates, MSAC 2006-HE5. It is undisputed that the Downgrade

EODs occurred after Commerzbank sold its holding in the relevant

Trust. CB-RSUF ¶ 103. Because, as explained above, Commerzbank

did not retain any claims to the Sold Certificates after the

sale, summary judgment dismissing these claims is granted.

     Second, DB argues that the occurrence of certain events

(“Alleged Trigger Events”) did not trigger DB’s prudent person

duties as to the Trusts in Biron PL-Ex. 33 and Biron CB-Ex. 33.

The GAs for six of these Trusts provide that DB’s prudent person

duties are triggered only if a “Master Servicer Event of

Default” occurs. The Plaintiffs argue that the GAs for these

Trusts require the Master Servicer to “use its reasonable good

faith efforts to cause the Servicers to duly and punctually

perform their duties and obligations hereunder,” and that if a

Master Servicer knew of the Alleged Trigger Events, it had a

duty to act. See, e.g., Handlin Ex. 19. The Plaintiffs contend

that because the Master Servicer knew of the Alleged Trigger

Events yet failed to do anything, a Master Servicer EOD was

triggered and DB was required to act prudently. PL-RSUF-2 ¶

1397, CB-RSUF-2 ¶¶ 1715-19.




                                   111
  Case 1:14-cv-10103-JGK-DCF Document 435 Filed 02/08/22 Page 112 of 114



     DB does not appear to dispute that the Master Servicers

knew of the Alleged Trigger Events and that there is no evidence

that Master Servicers did anything to address these events.

Accordingly, summary judgment on post-EOD prudent person claims

for these Trusts on this basis is denied.

          V. The Plaintiffs’ Motion for Summary Judgment

     The Plaintiffs have cross-moved for partial summary

judgment. The Plaintiffs primarily seek declarations that (1)

EODs occurred in the trusts and that DB failed to declare EODs,

(2) DB had a pre-EOD obligation to enforce breaches of R&Ws and

to have sufficient policies and procedures in place to detect

the occurrences of EODs, (3) DB had knowledge of missing or non-

conforming documents, (4) DB breached its post-EOD prudent

person duties both for EODs that DB actually declared and EODs

that it should have declared, and (5) DB had a duty to monitor

servicers and failed to do so.

     First, in view of the conclusions above, including that the

Phoenix Light Plaintiffs lack prudential standing to assert any

claims, many of the Plaintiffs’ arguments are moot.

     Second, with respect to the Plaintiffs’ motion for summary

judgment declaring that certain EODs occurred, it is notable

that whether an EOD occurred in a particular Trust is not

dispositive of any claim without a further finding that DB

breached some post-EOD duty. As with DB’s request that the Court


                                   112
  Case 1:14-cv-10103-JGK-DCF Document 435 Filed 02/08/22 Page 113 of 114



find that EODs did not occur, the Plaintiffs’ request that the

Court find that EODs did occur should be rejected in view of the

disputed material facts in the record.

     Third, as discussed above, even assuming that EODs were

triggered in certain trusts, whether DB’s conduct was “prudent”

cannot be resolved on this motion for summary judgment. DB

reasonably argues that pursuing remedies against warrantors or

servicers would be costly, and that such costs would ultimately

be borne by the certificateholders and thus could potentially

depress certificateholders’ returns. And evidence in the record

demonstrates that circumstances could arise where investors

(particularly with Certificates from different tranches) might

have divergent interests. See, e.g., P-CSUF-Reply ¶ 35.

     The Plaintiffs must show at trial that EODs (other than the

Declared EODs) occurred. The Plaintiffs must also prove that

DB’s actions fell below those of a prudent person for each

Trust, under the circumstances of that Trust. That burden has

not been met at this stage, and the Court declines the

Plaintiffs’ request to issue advisory rulings on whether certain

GA provisions were triggered, breached, or satisfied as a matter

of law.

                               CONCLUSION

     The Court has considered all of the arguments of the

parties. To the extent not specifically addressed above, the


                                   113
  Case 1:14-cv-10103-JGK-DCF Document 435 Filed 02/08/22 Page 114 of 114




remaining arguments are either moot or without merit. For the

reasons explained above, DB's supplemental motion for summary

judgment is granted. DB's motions for summary judgment in the

Phoenix Light Action and in the Commerzbank Action are granted

in part and denied in part. The Plaintiffs' motion for partial

summary judgment is denied.

     The Clerk is directed to enter judgment dismissing the

Phoenix Light Action (14-cv-10103). The Clerk is directed to

close all pending motions in the Phoenix Light Action (14-cv-

10103).

     The Clerk is directed to close all pending motions in the

Commerzbank Action (15-cv-10031) and to lift the stay in that

action. The parties in the Commerzbank Action are directed to

submit a proposed Phase 2 scheduling order with respect to the

outstanding claims in that action by February 25, 2022.

SO ORDERED.

Dated:    New York, New York
          February jl_, 2022


                                            _JJohn G. Koeltl
                                        United States District Judge




                                  114
